                               Case 23-747, Document 9, 05/11/2023, 3514428, Page1 of 82

                         UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                             CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

       1. SEE NOTICE ON REVERSE                           2. PLEASE TYPE OR PRINT                      3. STAPLE ALL ADDITIONAL PAGES

 Case Caption:                                                           District Court or Agency:                  Judge:

 Huzhou Chuangtai Rongyuan Investment       S.D.N.Y.                                                               Katherine Polk Failla
 Management Partnership, Huzhou Huihengying
 Equity Investment Partnership, and Huzhou  Date the Order or Judgment Appealed                                     District Court Docket No.:
                                            from was Entered on the Docket:
 Huirongsheng Equity Investment Partnership                                                                         21-cv-09221
                                            10/11/22 (Judgment)
 v.
                                                                         Date the Notice of Appeal was Filed:       Is this a Cross Appeal?

 Hui Qin                                                                 4/28/2023                                  9 Yes          ✔9 No


 Attorney(s) for        Counsel’s Name:               Address:                 Telephone No.:                    Fax No.:                  E-mail:
 Appellant(s):
                        Amiad Kushner, Seiden Law LLP 322 8th Ave, Suite 1704, New York, NY 10001
 9 Plaintiff
                        (646)-766-1914, no fax number, akushner@seidenlaw.com
✔
9 Defendant


 Attorney(s) for        Counsel’s Name:               Address:                 Telephone No.:                    Fax No.:                  E-mail:
 Appellee(s):
                        Geoffrey Sant, Pillsbury Winthrop Shaw Pittman LLP 31 West 52nd Street , New York,
✔
9 Plaintiff
                        NY 10019 (212)-858-1743, (212)-858-1500, geoffrey.sant@pillsburylaw.com
 9 Defendant



 Has Transcript         Approx. Number of         Number of           Has this matter been before this Circuit previously?     9 Yes          ✔
                                                                                                                                              9 No
 Been Prepared?         Transcript                Exhibits
                        Pages:                    Appended to         If Yes, provide the following:
                                                  Transcript:
                        Not Applicable                                Case Name:
                                                Not
                                                Applicable            2d Cir. Docket No.:                Reporter Citation: (i.e., F.3d or Fed. App.)


  ADDENDUM “A”: COUNSEL MUST ATTACH TO THIS FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
   NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
  THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
          THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

  ADDENDUM “B”: COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
          AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                                PART A: JURISDICTION

                    1 . Federal Jurisdiction                                                2 . Appellate Jurisdiction

   9     U.S. a party               9 Diversity                      ✔
                                                                     9    Final Decision                  9 Order Certified by District Judge (i.e.,
                                                                                                            Fed . R. Civ. P. 54(b))
   9
   ✔     Federal question            9 Other (specify):              9    Interlocutory Decision
        (U.S. not a party)                                                Appealable As of Right          9     Other (specify):



                             IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.

FORM C (Rev. October 2016)
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                                        PART B: DISTRICT COURT DISPOSITION (Check as many as apply)


 1. Stage of Proceedings                             2. Type of Judgment/Order Appealed                                                3. Relief

 ✔
 9   Pre-trial                    9 Default judgment                      9    Dismissal/other jurisdiction      9 Damages:
                                                                                                                 ✔                                              9 Injunctions:
 9   During trial                 9 Dismissal/FRCP 12(b)(1)               9   Dismissal/merit
 9   After trial                    lack of subject matter juris.        ✔9   Judgment / Decision of the Court         Sought: $                                9 Preliminary
                                  9 Dismissal/FRCP 12(b)(6)              ✔9   Summary judgment                    ✔    Granted: $   Appx. $443 M                9 Permanent
                                    failure to state a claim              9   Declaratory judgment                     Denied: $                                9 Denied
                                  9 Dismissal/28 U.S.C. § 1915(e)(2)      9   Jury verdict
                                    frivolous complaint                   9   Judgment NOV
                                  9 Dismissal/28 U.S.C. § 1915(e)(2)      9   Directed verdict
                                    other dismissal                       9   Other (specify):



                                                         PART C: NATURE OF SUIT (Check as many as apply)

 1. Federal Statutes                                                                      2. Torts               3. Contracts                      4. Prisoner Petitions

   9 Antitrust             9   Communications        9   Freedom of Information Act       9 Admiralty/            9 Admiralty/                     9   Civil Rights
   9 Bankruptcy            9   Consumer Protection   9   Immigration                        Maritime                Maritime                       9   Habeas Corpus
                                                                                                                 ✔
   9 Banks/Banking         9   Copyright 9 Patent    9   Labor                            9 Assault /             9 Arbitration                    9   Mandamus
   9 Civil Rights          9   Trademark             9   OSHA                               Defamation           ✔9 Commercial                     9   Parole
  ✔9 Commerce              9   Election              9   Securities                       9 FELA                  9 Employment                     9   Vacate Sentence
   9 Energy                9   Soc. Security         9   Tax                              9 Products Liability    9 Insurance                      9   Other
   9 Commodities           9   Environmental                                              9 Other (Specify):      9 Negotiable
   9 Other (specify):                                                                                             Instruments
                                                                                                                  9 Other Specify

 5. Other                                                     6. General                                         7. Will appeal raise constitutional issue(s)?
    9 Hague Int’l Child Custody Conv.                           ✔9 Arbitration                                      9 Yes
                                                                                                                    ✔                  9 No
    9 Forfeiture/Penalty                                         9 Attorney Disqualification
    9 Real Property                                              9 Class Action                                       Will appeal raise a matter of first
    9 Treaty (specify):                                          9 Counsel Fees                                       impression?
    9 Other (specify):                                           9 Shareholder Derivative
                                                                 9 Transfer                                           ✔
                                                                                                                      9 Yes                9 No



 1. Is any matter relative to this appeal still pending below?            9 Yes, specify:                                                           ✔9     No

 2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
    which:
        (A) Arises from substantially the same case or controversy as this appeal?                      9 Yes                ✔9 No

          (B)       Involves an issue that is substantially similar or related to an issue in this appeal?            9 Yes                            9
                                                                                                                                                       ✔   No

 If yes, state whether 9 “A,” or 9 “B,” or 9 both are applicable, and provide in the spaces below the following information on the other action(s):

 Case Name:                                                 Docket No.                   Citation:                             Court or Agency:


 Name of Appellant:


 Date: 5/11/2023                                              Signature of Counsel of Record:    /s/ Amiad Kushner


                                                                    NOTICE TO COUNSEL
Once you have filed your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
important steps:
 1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and file it with the Clerk of the Second Circuit in accordance
 with LR 25.1.
 2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25.1.
 3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
 prosecute the appeal without payment.

          PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITHIN 14 DAYS, YOUR APPEAL WILL BE
          DISMISSED. SEE LOCAL RULE 12.1.

FORM C (Rev. December 2016)
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                                        ADDENDUM A

1. Nature of the Action

       Petitioners-Appellees initiated this action in the United States District Court for the

Southern District of New York (the “District Court”) against Respondent-Appellant, seeking

recognition of an arbitration award issued by the China International Economic and Trade

Arbitration Commission (the “Award”).

       Petitioners-Appellees moved for summary judgment confirming the Award pursuant to the

Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the “New York

Convention”). 9 U.S.C. §§ 201-208. Respondent-Appellant opposed the motion on multiple

grounds, including that the Award was unenforceable under Article V(1)(b) of the New York

Convention because Respondent-Appellant was not given proper notice of the arbitration

proceedings or the appointment of the arbitrator.

       The District Court granted summary judgment to Petitioners-Appellees and entered a final

judgment (the “Judgment”) confirming the Award. Thereafter, Respondent-Appellant moved

pursuant to Rule 60(b) of the Federal Rules of Civil Procedure for relief from the Judgment (the

“Rule 60(b) Motion”). The District Court denied the Rule 60(b) Motion.

2. Result Below
       The District Court granted summary judgment to Petitioners-Appellees and entered a final

judgment confirming the Award. The District Court denied Respondent-Appellant’s Rule 60(b)

Motion.

3. Notice of Appeal and Docket Sheet
       The Notice of Appeal and a current copy of the District Court’s docket sheet are attached

hereto as Exhibits A and B, respectively.
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4. Orders and Judgment Forming the Basis for this Appeal

       The District Court’s order granting summary judgment, the Judgment, and the District

Court’s order denying the Rule 60(b) Motion are attached as Exhibits C, D, and E, respectively.
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                                         ADDENDUM B

Issues to be Raised on Appeal

       1.      Whether the District Court erred in holding that Respondent-Appellant had not

established a defense to enforcement of the Award under Article V(1)(b) of the New York

Convention based upon Respondent-Appellant’s contentions that he was not given proper notice

of the arbitration proceedings or the appointment of the arbitrator.

       Standard of Review. A district court’s decision to confirm an arbitration award is reviewed

de novo “to the extent it turns on legal questions;” any findings of fact are reviewed for “clear

error.” Duferco International Steel Trading v. T. Klaveness Shipping A/S, 333 F.3d 383, 388 (2d

Cir. 2003).



       2.      Whether the District Court erred in holding that Respondent-Appellant had not

established that he was prejudiced by any due process failure related to notice of the arbitration

proceedings or the appointment of the arbitrator.

       Standard of Review. A district court’s decision to confirm an arbitration award is reviewed

de novo “to the extent it turns on legal questions;” any findings of fact are reviewed for “clear

error.” Duferco International Steel Trading v. T. Klaveness Shipping A/S, 333 F.3d 383, 388 (2d

Cir. 2003).
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               Exhibit A
          CaseCase 23-747, Document
               1:21-cv-09221-KPF    9, 05/11/2023,
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
Huzhou Chuangtai Rongyuan Investment                              :
Management Partnership, Huzhou Huihengying                        :
Equity Investment Partnership, and Huzhou                         :   1:21:cv-09221-KPF
Huirongsheng Equity Investment Partnership,                       :
                                                                  :
                                    Petitioners,                  :
                                                                  :
                  -v.-                                            :
                                                                  :
Hui Qin,                                                          :
                                                                  :
                                    Respondent.                   :
                                                                  :
------------------------------------------------------------------x

                                           NOTICE OF APPEAL

        Notice is hereby given that Respondent Hui Qin (“Respondent”) appeals to the United

States Court of Appeals for the Second Circuit from the judgment entered by the Clerk of this

Court on October 11, 2022 (ECF 46) (the “Judgment”), including this Court’s decision and order

entered on September 26, 2022 (ECF 44) that is referenced in the Judgment, and this Court’s order

entered on March 31, 2023 (ECF 134) denying Respondent’s motion for relief from the Judgment

pursuant to Rule 60(b) of the Federal Rules of Civil Procedure.

Dated: April 28, 2023
                                                         SEIDEN LAW LLP


                                                     By:      /s/ Amiad Kushner
                                                           Amiad Kushner
                                                           Xintong Zhang
                                                           322 Eighth Ave, Suite 1704
                                                           New York, NY 10001
                                                           646-766-1914
                                                           akushner@seidenlaw.com
                                                           xzhang@seidenlaw.com

                                                           Counsel for Respondent Hui Qin
         CaseCase 23-747, Document
              1:21-cv-09221-KPF    9, 05/11/2023,
                                Document          3514428,
                                            140 Filed      Page8
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of April, 2023, copies of the foregoing

Notice of Appeal were served via the Court’s CM/ECF system to all counsel and parties

receiving electronic notice of pleadings filed in this case.



                                               By:      /s/ Xintong Zhang
                                                     Xintong Zhang
                                                     SEIDEN LAW LLP
                                                     322 Eighth Ave, Suite 1704
                                                     New York, NY 10001
                                                     646-766-1914
                                                     xzhang@seidenlaw.com

                                                     Counsel for Respondent Hui Qin
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               Exhibit B
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    RECAP Actions

                                                                                                        CLOSED,APPEAL,ECF

                                               U.S. District Court
                                   Southern District of New York (Foley Square)
                                 CIVIL DOCKET FOR CASE #: 1:21-cv-09221-KPF


 Huzhou Chuangtai Rongyuan Investment Management Partnership                        Date Filed: 11/08/2021
 et al v. Qin                                                                       Date Terminated: 10/11/2022
 Assigned to: Judge Katherine Polk Failla                                           Jury Demand: None
 Cause: 09:207 Application for order confirming award of                            Nature of Suit: 896 Other Statutes:
 arbitrators                                                                        Arbitration
                                                                                    Jurisdiction: Federal Question
 Petitioner
 Huzhou Chuangtai Rongyuan Investment                                 represented by Carol Lee
 Management Partnership                                                              Pillsbury Winthrop Shaw Pittman LLP
                                                                                     31 West 52nd Street
                                                                                     New York, NY 10036
                                                                                     212-858-1000
                                                                                     Fax: 212-858-1500
                                                                                     Email: carol.lee@pillsburylaw.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Geoffrey R Sant
                                                                                    Pillsbury Winthrop Shaw Pittman LLP
                                                                                    31 West 52nd Street
                                                                                    New York, NY 10019
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                                                                                    Two Houston Center
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                                                                                    Email: hugh.ray@pillsburylaw.com
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Andrew C. Smith
                                                                                    Pillsbury Winthrop Shaw Pittman LLP
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                                                                                    212-858-1743
                                                                                    Fax: 212-858-1500
                                                                                    Email: andrew.smith@pillsburylaw.com
                                                                                    ATTORNEY TO BE NOTICED
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?130172137411011-L_1_0-1                                                     1/24
5/11/23, 4:25 PM             Case 23-747, Document 9, 05/11/2023,  3514428,
                                                      SDNY CM/ECF NextGen Version Page11
                                                                                  1.6    of 82
 Petitioner
 Huzhou Huihengying Equity Investment                                 represented by Carol Lee
 Partnership                                                                         (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Geoffrey R Sant
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Hugh M. Ray , III
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Andrew C. Smith
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED
 Petitioner
 Huzhou Huirongsheng Equity Investment                                represented by Carol Lee
 Partnership                                                                         (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                   Geoffrey R Sant
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Hugh M. Ray , III
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Andrew C. Smith
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED


 V.
 Movant
 Xue & Associates, P.C.                                               represented by Benjamin B. Xue
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                                                                                     Fax: (212)-219-2276
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                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Respondent
 Hui Qin                                                              represented by Amiad Moshe Kushner
                                                                                     Seiden Law Group LLP
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?130172137411011-L_1_0-1                                              2/24
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                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

                                                                          Benjamin B. Xue
                                                                          (See above for address)
                                                                          TERMINATED: 11/18/2022
                                                                          LEAD ATTORNEY

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                                                                          469 Seventh Ave.
                                                                          Ste 5th Fl.
                                                                          New York, NY 10018
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                                                                          Email: andrew.sklar@us.kwm.com
                                                                          TERMINATED: 12/14/2022

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                                                                          Email: blecherj@sullcrom.com
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                                                                          New York, NY 10001
                                                                          917-993-4337
                                                                          Email: xzhang@seidenlaw.com
                                                                          ATTORNEY TO BE NOTICED
 Objector
 Seiden Law LLP


  Date Filed             #     Docket Text
  11/08/2021               1 PETITION TO CONFIRM AND ENFORCE ARBITRATION. (Filing Fee $ 402.00,
                             Receipt Number ANYSDC-25304996).Document filed by Huzhou Chuangtai Rongyuan
                             Investment Management Partnership, Huzhou Huirongsheng Equity Investment
                             Partnership, Huzhou Huihengying Equity Investment Partnership..(Smith, Andrew)
                             (Entered: 11/08/2021)
  11/08/2021               2 NOTICE of Petition to Confirm Arbitral Award re: 1 Petition to
                             Compel/Confirm/Modify/Stay/Vacate Arbitration,. Document filed by Huzhou Chuangtai
                             Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?130172137411011-L_1_0-1                                       3/24
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                                                         SDNY CM/ECF NextGen Version Page13
                                                                                     1.6    of 82
                              Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                              (Entered: 11/08/2021)
  11/08/2021               3 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                             Zhejiang Zhongtai Chuangxin Investment Management Co., Ltd. for Huzhou Chuangtai
                             Rongyuan Investment Management Partnership. Document filed by Huzhou Chuangtai
                             Rongyuan Investment Management Partnership..(Smith, Andrew) (Entered: 11/08/2021)
  11/08/2021               4 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                             Tibet Wuwei Asset Management Co., Ltd. for Huzhou Huihengying Equity Investment
                             Partnership. Document filed by Huzhou Huihengying Equity Investment Partnership..
                             (Smith, Andrew) (Entered: 11/08/2021)
  11/08/2021               5 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
                             Tibet Wuwei Asset Management Co., Ltd. for Huzhou Huirongsheng Equity Investment
                             Partnership. Document filed by Huzhou Huirongsheng Equity Investment Partnership..
                             (Smith, Andrew) (Entered: 11/08/2021)
  11/08/2021               6 MEMORANDUM OF LAW in Support re: 1 Petition to
                             Compel/Confirm/Modify/Stay/Vacate Arbitration, . Document filed by Huzhou Chuangtai
                             Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                             Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                             (Entered: 11/08/2021)
  11/08/2021               7 DECLARATION of Carol Lee in Support re: 1 Petition to
                             Compel/Confirm/Modify/Stay/Vacate Arbitration,. Document filed by Huzhou Chuangtai
                             Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                             Partnership, Huzhou Huirongsheng Equity Investment Partnership. (Attachments: # 1
                             Exhibit A Arbitral Award, # 2 Exhibit B Certified Translation of the Arbitral Award, # 3
                             Exhibit C Capital Increase Agreement with Chuangtai Rongyuan, # 4 Exhibit D Certified
                             Translation of the Capital Increase Agreement with Chuangtai Rongyuan, # 5 Exhibit E
                             Capital Increase Agreement with Huirongsheng, # 6 Exhibit F Certified Translation of the
                             Capital Increase Agreement with Huirongsheng, # 7 Exhibit G Capital Increase
                             Agreement with Huihengying, # 8 Exhibit H Certified Translation of the Capital Increase
                             Agreement with Huihengying, # 9 Exhibit I Supplemental Agreement, # 10 Exhibit J
                             Certified Translation of the Supplemental Agreement).(Smith, Andrew) (Entered:
                             11/08/2021)
  11/08/2021               8 CIVIL COVER SHEET filed..(Smith, Andrew) (Entered: 11/08/2021)
  11/08/2021               9 REQUEST FOR ISSUANCE OF SUMMONS as to Hui Qin, re: 1 Petition to
                             Compel/Confirm/Modify/Stay/Vacate Arbitration,. Document filed by Huzhou Chuangtai
                             Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                             Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                             (Entered: 11/08/2021)
  11/09/2021                   CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                               assigned to Judge Katherine Polk Failla. Please download and review the Individual
                               Practices of the assigned District Judge, located at
                               https://nysd.uscourts.gov/judges/district-judges. Attorneys are responsible for providing
                               courtesy copies to judges where their Individual Practices require such. Please download
                               and review the ECF Rules and Instructions, located at https://nysd.uscourts.gov/rules/ecf-
                               related-instructions..(pc) (Entered: 11/09/2021)
  11/09/2021                   Magistrate Judge Kevin Nathaniel Fox is so designated. Pursuant to 28 U.S.C. Section
                               636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed
                               before a United States Magistrate Judge. Parties who wish to consent may access the

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?130172137411011-L_1_0-1                                                    4/24
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                              necessary form at the following link: https://nysd.uscourts.gov/sites/default/files/2018-
                              06/AO-3.pdf. (pc) (Entered: 11/09/2021)
  11/09/2021                   Case Designated ECF. (pc) (Entered: 11/09/2021)
  11/09/2021             10 ELECTRONIC SUMMONS ISSUED as to Hui Qin..(pc) (Entered: 11/09/2021)
  11/09/2021             11 ORDER: Accordingly, it is hereby ORDERED that Petitioners shall move for
                            confirmation of the arbitral award in the form of a motion for summary judgment - in
                            accordance with Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56.1 of
                            the Southern District of New York - by December 8, 2021. Respondents opposition, if
                            any, is due on January 5, 2022. Petitioners reply, if any, is due January 19, 2022.
                            Petitioners shall serve the petition upon Respondent electronically and by overnight mail
                            no later than November 16, 2021, and shall file an affidavit of such service with the Court
                            no later than November 23, 2021. (Motions due by 12/8/2021., Responses due by
                            1/5/2022, Replies due by 1/19/2022.) (Signed by Judge Katherine Polk Failla on
                            11/9/2021) (rro) Modified on 11/15/2021 (rro). (Entered: 11/09/2021)
  11/09/2021                   Set/Reset Deadlines: Responses due by 1/5/2022 Replies due by 1/19/2022. (rro)
                               (Entered: 11/15/2021)
  11/11/2021             12 NOTICE OF APPEARANCE by Geoffrey R Sant on behalf of Huzhou Chuangtai
                            Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Sant, Geoffrey)
                            (Entered: 11/11/2021)
  11/11/2021             13 NOTICE OF APPEARANCE by Carol Lee on behalf of Huzhou Chuangtai Rongyuan
                            Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Lee, Carol) (Entered:
                            11/11/2021)
  11/23/2021             14 CERTIFICATE OF SERVICE of Petition to Confirm and Enforce Foreign Arbitral Award
                            and For Entry of Judgment and accompanying papers served on Hui Qin on 11/16/2021.
                            Service was made by Mail and EMail. Document filed by Huzhou Chuangtai Rongyuan
                            Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Lee, Carol) (Entered:
                            11/23/2021)
  12/08/2021             15 MOTION for Summary Judgment / Notice of Motion for Summary Judgment. Document
                            filed by Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou
                            Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity Investment
                            Partnership..(Smith, Andrew) (Entered: 12/08/2021)
  12/08/2021             16 MEMORANDUM OF LAW in Support re: 15 MOTION for Summary Judgment / Notice
                            of Motion for Summary Judgment. . Document filed by Huzhou Chuangtai Rongyuan
                            Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                            (Entered: 12/08/2021)
  12/08/2021             17 RULE 56.1 STATEMENT. Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership..(Smith, Andrew) (Entered: 12/08/2021)
  12/10/2021             18 CERTIFICATE OF SERVICE of Motion for Summary Judgment papers (ECF Nos. 15,
                            16, and 17) served on Hui Qin. Service was made by Mail (12/10/2021) and EMail
                            (12/8/2021). Document filed by Huzhou Chuangtai Rongyuan Investment Management
                            Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                            Equity Investment Partnership..(Lee, Carol) (Entered: 12/10/2021)
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  01/04/2022             19 NOTICE OF APPEARANCE by Benjamin B. Xue on behalf of Hui Qin..(Xue,
                            Benjamin) (Entered: 01/04/2022)
  01/04/2022             20 LETTER MOTION for Extension of Time to Oppose Motion for Summary Judgment and
                            Petition addressed to Judge Katherine Polk Failla from Benjamin B. Xue dated January 4,
                            2022. Document filed by Hui Qin..(Xue, Benjamin) (Entered: 01/04/2022)
  01/05/2022             21 ORDER granting 20 Letter Motion for Extension of Time. Application GRANTED.
                            Respondent shall file his opposition to Petitioners' motion for summary judgment on or
                            before April 5, 2022. Petitioners shall file their reply, if any, on or before April 19, 2022.
                            The Clerk of Court is directed to terminate the motion at docket entry 20. (Signed by
                            Judge Katherine Polk Failla on 1/5/2022) (rro) (Entered: 01/05/2022)
  01/05/2022                   Set/Reset Deadlines: Responses due by 4/5/2022 Replies due by 4/19/2022. (rro)
                               (Entered: 01/05/2022)
  01/06/2022             22 SUMMONS RETURNED EXECUTED Summons and Petition to
                            Compel/Confirm/Modify/Stay/Vacate Arbitration, served. Hui Qin served on 12/23/2021,
                            answer due 1/13/2022. Service was accepted by Hui Qin. Document filed by Huzhou
                            Chuangtai Rongyuan Investment Management Partnership; Huzhou Huirongsheng Equity
                            Investment Partnership; Huzhou Huihengying Equity Investment Partnership..(Lee,
                            Carol) (Entered: 01/06/2022)
  01/06/2022             23 CERTIFICATE OF SERVICE served on Hui Qin on December 27, 2021. Service was
                            made by FEDEX. Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership..(Lee, Carol) (Entered: 01/06/2022)
  02/08/2022                   Magistrate Judge Jennifer Willis is so redesignated. (wb) (Entered: 02/08/2022)
  04/05/2022             24 LETTER MOTION for Leave to File Excess Pages for Memorandum of Law in
                            Opposition to MSJ addressed to Judge Katherine Polk Failla from Benjamin B. Xue dated
                            April 5, 2022. Document filed by Hui Qin..(Xue, Benjamin) (Entered: 04/05/2022)
  04/05/2022             25 LETTER addressed to Judge Katherine Polk Failla from Geoffrey Sant dated April 5,
                            2022 Document filed by Huzhou Chuangtai Rongyuan Investment Management
                            Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                            Equity Investment Partnership..(Sant, Geoffrey) (Entered: 04/05/2022)
  04/05/2022             26 ORDER granting 24 Letter Motion for Leave to File Excess Pages. The Court is in
                            receipt of Respondent's above letter. The Court does not appreciate that Respondent has
                            waited until the day his brief is due to request permission to file a brief that exceeds this
                            Court's standard page limit, especially in light of the fact that Respondent has had
                            Petitioners' opening brief since December 8, 2021. (See Dkt. #16). Nonetheless, given the
                            issues identified above, the Court will allow Respondent to file a memorandum of law of
                            no more than 30 pages. The Clerk of Court is directed to terminate the motion at docket
                            entry 24. (Signed by Judge Katherine Polk Failla on 4/5/2022) (rro) (Entered:
                            04/05/2022)
  04/05/2022             27 RESPONSE to 1 Petition to Compel/Confirm/Modify/Stay/Vacate Arbitration,.
                            Document filed by Hui Qin..(Xue, Benjamin) (Entered: 04/05/2022)
  04/05/2022             28 MEMORANDUM OF LAW in Opposition re: 15 MOTION for Summary Judgment /
                            Notice of Motion for Summary Judgment. . Document filed by Hui Qin. (Attachments: # 1
                            Exhibit Exhibit A CIETAC Rules, # 2 Exhibit Exhibit B: EU v. EU, # 3 Exhibit Exhibit
                            C: CEEG v Lumos, # 4 Exhibit Exhibit D: Guide on NY Convention).(Xue, Benjamin)
                            (Entered: 04/05/2022)

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  04/05/2022             29 DECLARATION of Cheng, Chi Chung in Opposition re: 15 MOTION for Summary
                            Judgment / Notice of Motion for Summary Judgment.. Document filed by Hui Qin.
                            (Attachments: # 1 Exhibit Exhibit A: List of Cinemas).(Xue, Benjamin) (Entered:
                            04/05/2022)
  04/05/2022             30 DECLARATION of Peng Yu in Opposition re: 15 MOTION for Summary Judgment /
                            Notice of Motion for Summary Judgment.. Document filed by Hui Qin..(Xue, Benjamin)
                            (Entered: 04/05/2022)
  04/05/2022             31 DECLARATION of Zhang Hai Yang in Opposition re: 15 MOTION for Summary
                            Judgment / Notice of Motion for Summary Judgment.. Document filed by Hui Qin..(Xue,
                            Benjamin) (Entered: 04/05/2022)
  04/05/2022             32 COUNTER STATEMENT TO 17 Rule 56.1 Statement. Document filed by Hui Qin..
                            (Xue, Benjamin) (Entered: 04/05/2022)
  04/05/2022             33 DECLARATION of Qin Hui in Opposition re: 15 MOTION for Summary Judgment /
                            Notice of Motion for Summary Judgment.. Document filed by Hui Qin. (Attachments: # 1
                            Exhibit Exhibit A First Application, # 2 Exhibit Exhibit B Li Yong, # 3 Exhibit Exhibit C
                            Liu Lan Fang, # 4 Exhibit Exhibit D Sun Xiao Ming, # 5 Exhibit Exhibit E Tao Xiuming,
                            # 6 Exhibit Exhibit F Second Application, # 7 Exhibit Exhibit G 12.11.20 Ruling, # 8
                            Exhibit Exhibit H Objections, # 9 Exhibit Exhibit I CIETAC articles).(Xue, Benjamin)
                            (Entered: 04/05/2022)
  04/06/2022             34 MEMO ENDORSEMENT on re: 25 Letter, filed by Huzhou Chuangtai Rongyuan
                            Investment Management Partnership, Huzhou Huirongsheng Equity Investment
                            Partnership, Huzhou Huihengying Equity Investment Partnership. ENDORSEMENT:
                            Petitioners may file a reply brief of no more than 15 pages. (Signed by Judge Katherine
                            Polk Failla on 4/6/2022) (rro) (Entered: 04/06/2022)
  04/19/2022             35 REPLY MEMORANDUM OF LAW in Support re: 15 MOTION for Summary Judgment
                            / Notice of Motion for Summary Judgment. . Document filed by Huzhou Chuangtai
                            Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Sant, Geoffrey)
                            (Entered: 04/19/2022)
  04/19/2022             36 REPLY re: 32 Counter Statement to Rule 56.1 /PETITIONERS' REPLY TO
                            RESPONDENT'S RESPONSES TO PETITIONERS' RULE 56.1 STATEMENTS OF
                            MATERIAL FACTS. Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership..(Sant, Geoffrey) (Entered: 04/19/2022)
  04/19/2022             37 DECLARATION of Carol Lee in Support re: 15 MOTION for Summary Judgment /
                            Notice of Motion for Summary Judgment.. Document filed by Huzhou Chuangtai
                            Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B).(Sant, Geoffrey) (Entered: 04/19/2022)
  04/19/2022             38 DECLARATION of Lening Liu in Support re: 15 MOTION for Summary Judgment /
                            Notice of Motion for Summary Judgment.. Document filed by Huzhou Chuangtai
                            Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership. (Attachments: # 1
                            Exhibit 1).(Sant, Geoffrey) (Entered: 04/19/2022)
  04/21/2022             39 LETTER MOTION for Leave to File Sur-reply addressed to Judge Katherine Polk Failla
                            from Benjamin B. Xue dated April 21, 2022. Document filed by Hui Qin..(Xue,
                            Benjamin) (Entered: 04/21/2022)

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  04/22/2022             40 LETTER addressed to Judge Katherine Polk Failla from Geoffrey Sant dated April 22,
                            2022 Document filed by Huzhou Chuangtai Rongyuan Investment Management
                            Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                            Equity Investment Partnership..(Sant, Geoffrey) (Entered: 04/22/2022)
  04/26/2022             41 ORDER denying 39 Letter Motion for Leave to File Document. The Court is in receipt of
                            Respondent's April 19, 2022 letter (Dkt. #38) and Petitioners' above responsive letter.
                            Respondent's application for leave to file a sur-reply is DENIED. If the Court finds that
                            supplemental briefing or oral argument would aid in its resolution of Petitioners' motion,
                            it will inform the parties at that time. The Clerk of Court is directed to terminate the
                            motion at docket entry 39. (Signed by Judge Katherine Polk Failla on 4/26/2022) (ate)
                            (Entered: 04/26/2022)
  05/03/2022             42 NOTICE OF APPEARANCE by Amiad Moshe Kushner on behalf of Hui Qin..(Kushner,
                            Amiad) (Entered: 05/03/2022)
  05/03/2022             43 NOTICE OF APPEARANCE by Xintong Zhang on behalf of Hui Qin..(Zhang, Xintong)
                            (Entered: 05/03/2022)
  09/26/2022             44 OPINION AND ORDER re: 15 MOTION for Summary Judgment / Notice of Motion for
                            Summary Judgment filed by Huzhou Chuangtai Rongyuan Investment Management
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou Huihengying
                            Equity Investment Partnership. For the foregoing reasons, Petitioners' motion for
                            summary judgment on their petition to confirm the foreign arbitration award is
                            GRANTED. The Clerk of Court is directed to terminate the motion at docket entry 15.
                            Petitioners are hereby directed to submit a proposed judgment, consistent with the
                            CIETAC Award, within fourteen days. That judgment shall calculate all amounts in U.S.
                            dollars, converted from Renminbi as of the date of submission. See Comm'ns Imp. Exp.
                            S.A. v. Republic of the Congo, No. 14 Misc. 187 (AJN), 2020 WL 4040753, at *2
                            (S.D.N.Y. July 17, 2020) (noting that, under New York law, the "judgment... shall be
                            converted into currency of the United States at the rate of exchange prevailing on the date
                            of entry of the judgment or decree" (citing N.Y. Jud. Law § 27(b)). SO ORDERED.
                            (Signed by Judge Katherine Polk Failla on 9/26/2022) (va) (Entered: 09/27/2022)
  10/05/2022             45 PROPOSED JUDGMENT. Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership..(Smith, Andrew) (Entered: 10/05/2022)
  10/11/2022             46 JUDGMENT: It is HEREBY ORDERED, ADJUDGED, AND DECREED: That for the
                            reasons stated in the Courts Opinion and Order dated September 26, 2022 (Dkt. #44), the
                            Award of the CIETAC Tribunal dated April 22, 2021 ("CIETAC Award") (Dkt. #7-2) is
                            CONFIRMED; and JUDGMENT IS HEREBY ENTERED on the CIETAC Award in
                            favor of Petitioners Huzhou Chuangtai Rongyuan Investment Management Partnership
                            ("Chuangtai Rongyuan"), Huzhou Huihengying Equity Investment Partnership
                            ("Huihengying"), and Huzhou Huirongsheng Equity Investment Partnership
                            ("Huirongsheng") and against Respondent Hui Qin ("Qin") as follows: For money
                            damages in favor of Petitioners in the following aggregate amounts(representing the
                            totals granted in the Award as calculated below): Judgment for Petitioner Chuangtai
                            Rongyuan: $148,648,643.71, plus ongoing contractual daily interest of $29,311.88.
                            Judgment for Petitioner Huihengying: $147,428,491.49, plus ongoing contractual daily
                            interest of $29,348.48.Judgment for Petitioner Huirongsheng: $147,382,728.28, plus
                            ongoing contractual daily interest of $29,350.67. For specific performance, ordering Qin
                            to transfer the 5% of equity in Chengdu Run Yunheld by Qin and Shenzhen SMI
                            Shengdian Cultural and Media Group Co., Ltd. to thePetitioners, to be evenly distributed
                            among the Petitioners. This judgment shall accrue post-judgment interest as mandated in

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                              28 U.S.C. § 1961. (Signed by Judge Katherine Polk Failla on 10/11/2022) (rro)
                              Transmission to Finance Unit (Cashiers) for processing. (Entered: 10/11/2022)
  10/12/2022             47 LETTER MOTION for Leave to File Unredacted Award and Supplemental Agreement
                            addressed to Judge Katherine Polk Failla from Benjamin B. Xue dated October 12, 2022.
                            Document filed by Hui Qin..(Xue, Benjamin) (Entered: 10/12/2022)
  10/13/2022             48 ORDER granting 47 Letter Motion for Leave to File Document. The Court is in receipt of
                            Respondent's above letter. Petitioners are hereby ORDERED to produce unredacted
                            copies of the CIETAC Award (Dkt. 7-1) and its English translation (Dkt. #7-2) as well as
                            the Supplemental Agreement (Dkt. #7-9) and its English translation (Dkt. #7-10) to
                            Respondent on or before October 27, 2022. The Clerk of Court is directed to terminate
                            the motion at docket entry #47. (Signed by Judge Katherine Polk Failla on 10/13/2022)
                            (rro) (Entered: 10/13/2022)
  10/13/2022             49 MOTION / NOTICE OF MOTION TO DISSOLVE AUTOMATIC STAY OF
                            PROCEEDINGS TO COLLECT JUDGMENT BY PETITIONERS . Document filed by
                            Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou Huihengying
                            Equity Investment Partnership, Huzhou Huirongsheng Equity Investment Partnership..
                            (Smith, Andrew) (Entered: 10/13/2022)
  10/13/2022             50 MEMORANDUM OF LAW in Support re: 49 MOTION / NOTICE OF MOTION TO
                            DISSOLVE AUTOMATIC STAY OF PROCEEDINGS TO COLLECT JUDGMENT BY
                            PETITIONERS . . Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership..(Smith, Andrew) (Entered: 10/13/2022)
  10/13/2022             51 DECLARATION of Carol Lee in Support re: 49 MOTION / NOTICE OF MOTION TO
                            DISSOLVE AUTOMATIC STAY OF PROCEEDINGS TO COLLECT JUDGMENT BY
                            PETITIONERS .. Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership. (Attachments: # 1 Exhibit 1 Email thread,
                            # 2 Exhibit 2 Response received from Duo Liu dated December 16, 2021, # 3 Exhibit 3
                            Certified translation, # 4 Exhibit 4 Response received from Duo Liu dated January 4,
                            2022).(Lee, Carol) (Entered: 10/13/2022)
  10/13/2022             52 AFFIDAVIT of CHRISTOPHER WEIL in Support re: 49 MOTION / NOTICE OF
                            MOTION TO DISSOLVE AUTOMATIC STAY OF PROCEEDINGS TO COLLECT
                            JUDGMENT BY PETITIONERS .. Document filed by Huzhou Chuangtai Rongyuan
                            Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                            (Entered: 10/13/2022)
  10/13/2022             53 MOTION to Expedite / NOTICE OF MOTION TO EXPEDITE MOTION TO DISSOLVE
                            AUTOMATIC STAY OF PROCEEDINGS TO COLLECT JUDGMENT BY
                            PETITIONERS. Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership..(Smith, Andrew) (Entered: 10/13/2022)
  10/13/2022             54 MOTION to Expedite / MOTION TO EXPEDITE MOTION TO DISSOLVE AUTOMATIC
                            STAY OF PROCEEDINGS TO COLLECT JUDGMENT. Document filed by Huzhou
                            Chuangtai Rongyuan Investment Management Partnership, Huzhou Huihengying Equity
                            Investment Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith,
                            Andrew) (Entered: 10/13/2022)
  10/14/2022             55 MEMO ENDORSEMENT granting in part and denying in part 53 Motion to Expedite;
                            granting in part and denying in part 54 Motion to Expedite. ENDORSEMENT: The Court

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                              is in receipt of Petitioners' motion to dissolve Rule 62(a)'s 30-day automatic stay of
                              collection proceedings (Dkt. #49) and accompanying papers (Dkt. #50-52). The Court is
                              also in receipt of Petitioners' above motion to expedite the briefing of the dissolution
                              motion. Recognizing that the dissolution motion will become moot on November 10,
                              2022, Petitioners' motion to expedite is GRANTED IN PART. Respondent shall file any
                              opposition to the dissolution motion on or before October 24, 2022. Petitioners shall file
                              their reply on or before October 26, 2022. The Clerk of Court is directed to terminate the
                              motions at docket entries 53 and 54. (Signed by Judge Katherine Polk Failla on
                              10/14/2022) (rro) (Entered: 10/14/2022)
  10/14/2022                   Set/Reset Deadlines: Responses due by 10/24/2022 Replies due by 10/26/2022. (rro)
                               (Entered: 10/14/2022)
  10/18/2022             56 DECLARATION of Carol Lee re: 51 Declaration in Support of Motion,, . Document filed
                            by Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou
                            Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity Investment
                            Partnership. (Attachments: # 1 Exhibit 2 (Redacted) Response received from Duo Liu
                            dated December 16, 2021, # 2 Exhibit 3 (Redacted) Certified translation).(Lee, Carol)
                            (Entered: 10/18/2022)
  10/19/2022             57 LETTER MOTION to Seal addressed to Judge Katherine Polk Failla from Andrew C.
                            Smith dated 10/19/2022. Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                            Huirongsheng Equity Investment Partnership..(Smith, Andrew) (Entered: 10/19/2022)
  10/19/2022             58 ORDER granting 57 Letter Motion to Seal. Application GRANTED. The Clerk of Court
                            is directed to maintain Exhibits 2 and 3 to docket entry 51 under seal, viewable only to
                            the parties and the Court. The Clerk of Court is further directed to terminate the motion at
                            docket entry 57. (Signed by Judge Katherine Polk Failla on 10/19/2022) (rro) (Entered:
                            10/20/2022)
  10/24/2022             59 CERTIFICATE OF SERVICE of unredacted copies in accordance with the Court's Order
                            (Dkt. No. 48). Document filed by Huzhou Chuangtai Rongyuan Investment Management
                            Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                            Equity Investment Partnership..(Lee, Carol) (Entered: 10/24/2022)
  10/25/2022             60 REPLY MEMORANDUM OF LAW in Support re: 49 MOTION / NOTICE OF
                            MOTION TO DISSOLVE AUTOMATIC STAY OF PROCEEDINGS TO COLLECT
                            JUDGMENT BY PETITIONERS . . Document filed by Huzhou Chuangtai Rongyuan
                            Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                            (Entered: 10/25/2022)
  10/28/2022             61 ORDER granting 49 Motion re: 49 MOTION / NOTICE OF MOTION TO DISSOLVE
                            AUTOMATIC STAY OF PROCEEDINGS TO COLLECT JUDGMENT BY
                            PETITIONERS . It is hereby ORDERED that the automatic stay imposed by Federal
                            Rule of Civil Procedure 62(a) is dissolved. Petitioners are permitted to immediately
                            enforce the judgment at docket entry 46. The Clerk of Court is directed to terminate the
                            motion at docket entry 49. (Signed by Judge Katherine Polk Failla on 10/28/2022) (rro)
                            (Entered: 10/28/2022)
  10/31/2022             62 CERTIFICATE OF SERVICE of First Set of Post-Judgment Demands for Production of
                            Documents. Document filed by Huzhou Chuangtai Rongyuan Investment Management
                            Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                            Equity Investment Partnership..(Lee, Carol) (Entered: 10/31/2022)



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  10/31/2022             63 LETTER MOTION to Expedite Discovery in Aid of Execution of the Judgment addressed
                            to Judge Katherine Polk Failla from Andrew C. Smith dated 10/31/2022. Document filed
                            by Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou
                            Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity Investment
                            Partnership. (Attachments: # 1 Exhibit A- Property Records).(Smith, Andrew) (Entered:
                            10/31/2022)
  11/01/2022             64 ORDER terminating 63 Letter Motion to Expedite. For the reasons detailed in its October
                            28, 2022 Order (Dkt. #61), the Court recognizes the need for expedited post-judgment
                            discovery. Respond is hereby ORDERED to respond to Petitioners' October 31, 2022
                            document demands on or before November 9, 2022. The Clerk of Court is directed to
                            terminate the motion at docket entry 63. (Signed by Judge Katherine Polk Failla on
                            11/1/2022) (rro) (Entered: 11/01/2022)
  11/03/2022             65 FILING ERROR - DEFICIENT DOCKET ENTRY - PROPOSED CLERK'S
                            CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT.
                            Filing fee $ 11.00, receipt number ANYSDC-26914875. Clerk's Certification of a
                            Judgment to be Registered in Another District to be Picked up by Party. Document filed
                            by Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou
                            Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity Investment
                            Partnership. (Attachments: # 1 Judgment).(Smith, Andrew) Proposed document to be
                            reviewed and processed by Clerk's Office staff (No action required by chambers).
                            Modified on 11/3/2022 (km). (Entered: 11/03/2022)
  11/03/2022                   ***NOTICE TO ATTORNEY REGARDING REJECTION OF PROPOSED
                               CLERK'S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN
                               ANOTHER DISTRICT. Notice to Attorney Andrew Smith document 65 Proposed
                               Clerk's Certification of a Judgment to be Registered in Another District was
                               rejected by the Clerk's Office for the following reason: the time for appeal of this
                               judgment has not expired. Please refile the Proposed Clerk's Certification of
                               Judgment to be Registered in Another District after the time for appeal of this
                               judgment has expired. (km) (Entered: 11/03/2022)
  11/08/2022             66 FIRST MOTION for Reconsideration Pursuant to Federal Rule of Civil Procedure Rule
                            60(b). Document filed by Hui Qin..(Kushner, Amiad) (Entered: 11/08/2022)
  11/08/2022             67 MEMORANDUM OF LAW in Support re: 66 FIRST MOTION for Reconsideration
                            Pursuant to Federal Rule of Civil Procedure Rule 60(b). . Document filed by Hui Qin..
                            (Kushner, Amiad) (Entered: 11/08/2022)
  11/08/2022             68 DECLARATION of Xintong Zhang in Support re: 66 FIRST MOTION for
                            Reconsideration Pursuant to Federal Rule of Civil Procedure Rule 60(b).. Document
                            filed by Hui Qin. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit
                            Exhibit C, # 4 Exhibit Exhibit D, # 5 Exhibit Exhibit E).(Kushner, Amiad) (Entered:
                            11/08/2022)
  11/08/2022             69 DECLARATION of Peng, Yun in Support re: 66 FIRST MOTION for Reconsideration
                            Pursuant to Federal Rule of Civil Procedure Rule 60(b).. Document filed by Hui Qin.
                            (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C).
                            (Kushner, Amiad) (Entered: 11/08/2022)
  11/09/2022             70 NOTICE OF APPEARANCE by Andrew Jacob Sklar on behalf of Hui Qin..(Sklar,
                            Andrew) (Entered: 11/09/2022)
  11/09/2022             71 MOTION for Benjamin B. Xue to Withdraw as Attorney Letter Motion. Document filed
                            by Hui Qin..(Xue, Benjamin) (Entered: 11/09/2022)

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  11/10/2022             72 LETTER addressed to Judge Katherine Polk Failla from Andrew C. Smith dated
                            November 10, 2022 re: Opposition to the letter motion (Dkt no. 71). Document filed by
                            Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou Huihengying
                            Equity Investment Partnership, Huzhou Huirongsheng Equity Investment Partnership.
                            (Attachments: # 1 Exhibit A RESPONDENT HUI QIN'S OBJECTIONS AND
                            RESPONSES TO PETITIONERS' FIRST SET OF POST-JUDGMENT DEMANDS
                            FOR PRODUCTION OF DOCUMENTS TO HUI QIN).(Smith, Andrew) (Entered:
                            11/10/2022)
  11/11/2022             73 FILING ERROR - DEFICIENT DOCKET ENTRY - PROPOSED CLERK'S
                            CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT.
                            Filing fee $ 11.00, receipt number ANYSDC-26949012. Clerk's Certification of a
                            Judgment to be Registered in Another District to be Picked up by Party. Document filed
                            by Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou
                            Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity Investment
                            Partnership. (Attachments: # 1 Judgment).(Smith, Andrew) Proposed document to be
                            reviewed and processed by Clerk's Office staff (No action required by chambers).
                            Modified on 11/14/2022 (nd). Modified on 11/14/2022 (nd). (Entered: 11/11/2022)
  11/14/2022                   ***NOTICE TO ATTORNEY REGARDING REJECTION OF PROPOSED
                               CLERK'S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN
                               ANOTHER DISTRICT. Notice to Attorney Andrew Smith, document 73 Proposed
                               Clerk's Certification of a Judgment to be Registered in Another District, was
                               rejected by the Clerk's Office for the following reason, a motion to alter or amend
                               the judgment has been filed and is still pending; Please refile the Proposed Clerk's
                               Certification of Judgment to be Registered in Another District after the motion to
                               alter or amend the judgment has been disposed of, (nd) (Entered: 11/14/2022)
  11/14/2022             74 LETTER REPLY to Response to Motion addressed to Judge Katherine Polk Failla from
                            Benjamin B. Xue dated November 14, 2022 re: 71 MOTION for Benjamin B. Xue to
                            Withdraw as Attorney Letter Motion. . Document filed by Hui Qin. (Attachments: # 1
                            Exhibit A - Email Proof of Service of Motion to Withdraw Upon Qin).(Xue, Benjamin)
                            (Entered: 11/14/2022)
  11/14/2022             75 MEMO ENDORSEMENT on re: 74 Reply to Response to Motion, filed by Hui Qin.
                            ENDORSEMENT: The Court is in receipt of Mr. Xue's motion to withdraw as counsel
                            for Respondent (Dkt. #71), Petitioners' opposition to that motion (Dkt. #72), and Mr.
                            Xue's above reply. The parties are hereby ORDERED to appear for a conference to
                            discuss the motion on November 18, 2022, at 11:30 a.m. The conference will proceed via
                            videoconference. Instructions for accessing the videoconference will be provided
                            separately. (Status Conference set for 11/18/2022 at 11:30 AM before Judge Katherine
                            Polk Failla.) (Signed by Judge Katherine Polk Failla on 11/14/2022) (rro) (Entered:
                            11/14/2022)
  11/18/2022                   Minute Entry for proceedings held before Judge Katherine Polk Failla: Motion Hearing
                               held on 11/18/2022 re: 71 MOTION for Benjamin B. Xue to Withdraw as Attorney Letter
                               Motion filed by Hui Qin: Attorney Andrew C. Smith representing Plaintiffs present.
                               Attorneys Amiad Moshe Kushner, Andrew Jacob Sklar, Xintong Zhang, and Benjamin B.
                               Xue representing Defendant present. Defendant's motion for Benjamin B. Xue to
                               withdraw as attorney is GRANTED for the reasons stated on the record. (Attorney
                               Benjamin B. Xue terminated. ) (Court Reporter recorded) (tn) (Entered: 11/18/2022)
  11/21/2022             76 FIRST LETTER MOTION for Extension of Time to File Response/Reply as to 67
                            Memorandum of Law in Support of Motion Pursuant to Federal Rule of Civil Procedure
                            60(b) addressed to Judge Katherine Polk Failla from Amiad Kushner dated 11/21/2022.
                            Document filed by Hui Qin..(Kushner, Amiad) (Entered: 11/21/2022)
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  11/21/2022             77 ORDER granting 76 Letter Motion for Extension of Time to File Response/Reply re 76
                            FIRST LETTER MOTION for Extension of Time to File Response/Reply as to 67
                            Memorandum of Law in Support of Motion Pursuant to Federal Rule of Civil Procedure
                            60(b) addressed to Judge Katherine Polk Failla from Amiad Kushner dated 11/21/20.
                            Application GRANTED. The Clerk of Court is directed to terminate the motion at docket
                            entry 76. SO ORDERED.. (Signed by Judge Katherine Polk Failla on 11/21/2022)
                            Responses due by 11/28/2022 Replies due by 12/7/2022. (ks) (Entered: 11/21/2022)
  11/25/2022             78 MOTION to Quash Supboenas . Document filed by Xue & Associates, P.C...(Xue,
                            Benjamin) (Entered: 11/25/2022)
  11/25/2022             79 DECLARATION of Benjamin B. Xue in Support re: 78 MOTION to Quash Supboenas ..
                            Document filed by Xue & Associates, P.C.. (Attachments: # 1 Exhibit A - Document
                            Subpoena, # 2 Exhibit B - Deposition Subpoena).(Xue, Benjamin) (Entered: 11/25/2022)
  11/25/2022             80 MEMORANDUM OF LAW in Support re: 78 MOTION to Quash Supboenas . .
                            Document filed by Xue & Associates, P.C...(Xue, Benjamin) (Entered: 11/25/2022)
  11/28/2022             81 DECLARATION of Carol Lee in Opposition re: 66 FIRST MOTION for Reconsideration
                            Pursuant to Federal Rule of Civil Procedure Rule 60(b).. Document filed by Huzhou
                            Chuangtai Rongyuan Investment Management Partnership, Huzhou Huihengying Equity
                            Investment Partnership, Huzhou Huirongsheng Equity Investment Partnership.
                            (Attachments: # 1 Exhibit A Complaint, # 2 Exhibit B Respondent's Affidavit, # 3 Exhibit
                            C Answer and Counterclaim, # 4 Exhibit D Chinese Civil Judgment, # 5 Exhibit E
                            Petitioners' Application for Arbitration).(Lee, Carol) (Entered: 11/28/2022)
  11/28/2022             82 MEMORANDUM OF LAW in Opposition re: 66 FIRST MOTION for Reconsideration
                            Pursuant to Federal Rule of Civil Procedure Rule 60(b). . Document filed by Huzhou
                            Chuangtai Rongyuan Investment Management Partnership, Huzhou Huihengying Equity
                            Investment Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Sant,
                            Geoffrey) (Entered: 11/28/2022)
  12/02/2022             83 MEMORANDUM OF LAW in Opposition re: 78 MOTION to Quash Supboenas . .
                            Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                            Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                            Investment Partnership..(Smith, Andrew) (Entered: 12/02/2022)
  12/02/2022             84 DECLARATION of Carol Lee in Opposition re: 78 MOTION to Quash Supboenas ..
                            Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                            Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                            Investment Partnership. (Attachments: # 1 Exhibit A).(Lee, Carol) (Entered: 12/02/2022)
  12/06/2022             85 TRANSCRIPT of Proceedings re: REMOTE MOTION HEARING held on 11/18/2022
                            before Judge Katherine Polk Failla. Court Reporter/Transcriber: Carole Ludwig, (212)
                            420-0771. Transcript may be viewed at the court public terminal or purchased through the
                            Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                            After that date it may be obtained through PACER. Redaction Request due 12/27/2022.
                            Redacted Transcript Deadline set for 1/6/2023. Release of Transcript Restriction set for
                            3/6/2023. (js) (Entered: 12/06/2022)
  12/06/2022             86 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                            official transcript of a REMOTE MOTION HEARING proceeding held on 11/18/2022
                            has been filed by the court reporter/transcriber in the above-captioned matter. The parties
                            have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar days....
                            (js) (Entered: 12/06/2022)
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  12/07/2022             87 REPLY MEMORANDUM OF LAW in Support re: 78 MOTION to Quash Supboenas . .
                            Document filed by Xue & Associates, P.C...(Xue, Benjamin) (Entered: 12/07/2022)
  12/07/2022             88 REPLY MEMORANDUM OF LAW in Support re: 66 FIRST MOTION for
                            Reconsideration Pursuant to Federal Rule of Civil Procedure Rule 60(b). . Document
                            filed by Hui Qin..(Kushner, Amiad) (Entered: 12/07/2022)
  12/09/2022             89 LETTER MOTION to Substitute Attorney. Old Attorney: Andrew Sklar, New Attorney:
                            addressed to Judge Katherine Polk Failla from Andrew Sklar dated Dec. 9, 2022.
                            Document filed by Hui Qin..(Sklar, Andrew) (Entered: 12/09/2022)
  12/14/2022             90 ORDER granting 89 Letter Motion to Substitute Attorney. Application GRANTED. The
                            Court thanks Mr. Sklar for his work on this matter and wishes him the best in his future
                            endeavors. The Clerk of Court is directed to terminate Mr. Sklar from the docket. The
                            Clerk of Court is further directed to terminate the motion at docket entry 89. Attorney
                            Andrew Jacob Sklar terminated. (Signed by Judge Katherine Polk Failla on 12/14/2022)
                            (rro) (Entered: 12/14/2022)
  01/03/2023             91 PROPOSED PROTECTIVE ORDER. Document filed by Huzhou Chuangtai Rongyuan
                            Investment Management Partnership, Huzhou Huihengying Equity Investment
                            Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                            (Entered: 01/03/2023)
  01/03/2023             92 STIPULATED PROTECTIVE ORDER...regarding procedures to be followed that shall
                            govern the handling of confidential material...This confidentiality agreement does not
                            bind the Court or any of its personnel. The Court can modify this stipulation at any time.
                            The Court will retain jurisdiction over the terms and conditions of thisagreement only for
                            the pendency of this litigation. Any party wishing to make redacted or sealed submissions
                            shall comply with Rule 9 of this Court's Individual Rules of Civil Procedure. (Signed by
                            Judge Katherine Polk Failla on 1/3/2023) (rro) (Entered: 01/03/2023)
  01/03/2023                   NOTICE of Hearing: The Court will hold a telephonic conference on 1/6/2023 at 2:30
                               p.m., to render its decision on Xue & Associates' motion to quash. At the scheduled time,
                               the parties shall dial-in to the conference at (888) 363-4749, and enter access code
                               5123533. (Telephone Conference set for 1/6/2023 at 02:30 PM in telephone or video
                               conference before Judge Katherine Polk Failla.) ***No PDF is attached to this entry. (tn)
                               Modified on 1/4/2023 (tn). (Entered: 01/03/2023)
  01/06/2023                   Minute Entry for proceedings held before Judge Katherine Polk Failla: Telephone
                               Conference held on 1/6/2023. Attorneys Andrew C. Smith, Carol Lee, and Geoffrey R.
                               Sant representing Plaintiffs present. Attorneys Amiad Moshe Kushner and Xintong Zhang
                               representing Defendant present. Attorney Benjamin B. Xue representing Movant present.
                               For the reasons detailed in the Court's oral ruling, Movants motion to quash the Written
                               Questions Subpoena is DENIED and Movants motion to quash the Document Subpoena
                               is GRANTED as to Demands 9 and 10 and DENIED as to all other demands. Movant
                               shall respond to the Written Questions Subpoena in full within 5 business days of the
                               Court's oral ruling. Movant shall respond to the Document Subpoena, other than
                               Demands 9 and 10, within 10 business days of the Court's oral ruling. Movant shall
                               submit any proposed privilege-based redactions to the Court for ex parte review within 8
                               business days of the oral ruling, along with unredacted versions of those documents and a
                               brief description of the basis for the proposed redactions. (See transcript.) (Court
                               Reporter recorded) (tn) (Entered: 01/10/2023)
  01/09/2023             93 LETTER MOTION for Conference / Request for Pre-Motion Discovery Conference
                            addressed to Judge Katherine Polk Failla from Andrew C. Smith dated 01/09/2023.
                            Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                            Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
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                              Investment Partnership. (Attachments: # 1 Exhibit 1 - Excerpts from 11.18.22 Hearing, #
                              2 Exhibit 2- December 12, 2022 Letter from Pillsbury to Seiden).(Smith, Andrew)
                              (Entered: 01/09/2023)
  01/11/2023             94 LETTER addressed to Judge Katherine Polk Failla from Hui Qin dated 1/11/2023 re:
                            Respondent's Opposition to Petitioners' Letter Motion. Document filed by Hui Qin.
                            (Attachments: # 1 Exhibit Exhibit A).(Kushner, Amiad) (Entered: 01/11/2023)
  01/12/2023             95 TRANSCRIPT of Proceedings re: REMOTE ORAL DECISION held on 1/6/2023 before
                            Judge Katherine Polk Failla. Court Reporter/Transcriber: Carole Ludwig, (212) 420-
                            0771. Transcript may be viewed at the court public terminal or purchased through the
                            Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                            After that date it may be obtained through PACER. Redaction Request due 2/2/2023.
                            Redacted Transcript Deadline set for 2/13/2023. Release of Transcript Restriction set for
                            4/12/2023.(js) (Entered: 01/12/2023)
  01/12/2023             96 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                            official transcript of a REMOTE ORAL DECISION proceeding held on 1/6/2023 has
                            been filed by the court reporter/transcriber in the above-captioned matter. The parties
                            have seven (7) calendar days to file with the court a Notice of Intent to Request
                            Redaction of this transcript. If no such Notice is filed, the transcript may be made
                            remotely electronically available to the public without redaction after 90 calendar days....
                            (js) (Entered: 01/12/2023)
  01/13/2023             97 LETTER addressed to Judge Katherine Polk Failla from Andrew C. Smith dated January
                            13, 2023 re: Reply in Support of Petitioners' January 9, 2023 letter seeking a pre-motion
                            conference. Document filed by Huzhou Chuangtai Rongyuan Investment Management
                            Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                            Equity Investment Partnership. (Attachments: # 1 Exhibit A).(Smith, Andrew) (Entered:
                            01/13/2023)
  01/18/2023                   NOTICE of Hearing: A video conference is scheduled in this matter for 1/20/2023 at
                               11:00 a.m., to discuss Respondent's compliance with his post-judgment discovery
                               obligations. The conference will have public audio access at (646) 453-4442, Conference
                               ID 862 031 878#. Instructions to video participants will be sent separately in advance of
                               the conference. ***No PDF is attached to this entry. (Status Conference set for 1/20/2023
                               at 11:00 AM in video conference before Judge Katherine Polk Failla. ) ***No PDF is
                               attached to this entry. (tn) (Entered: 01/18/2023)
  01/18/2023             98 LETTER MOTION for Extension of Time to file redacted legal fee invoices addressed to
                            Judge Katherine Polk Failla from Benjamin Xue dated 01/18/2023. Document filed by
                            Xue & Associates, P.C...(Xue, Benjamin) (Entered: 01/18/2023)
  01/18/2023             99 ORDER granting 98 Letter Motion for Extension of Time. Application GRANTED. The
                            Clerk of Court is directed to terminate the motion at docket entry 98. SO ORDERED.
                            (Signed by Judge Katherine Polk Failla on 1/18/2023) (ks) (Entered: 01/18/2023)
  01/20/2023                   Minute Entry for proceedings held before Judge Katherine Polk Failla: Status Conference
                               held on 1/20/2023. Attorneys Andrew C. Smith, Geoffrey R. Sant, and Carol Lee
                               representing Petitioners present. Attorneys Amiad Moshe Kushner and Xintong Zhang
                               representing Respondent present. (Court Reporter recorded) (tn) (Entered: 02/07/2023)
  01/23/2023           100 ORDER terminating 93 Letter Motion for Conference re: 93 LETTER MOTION for
                           Conference / Request for Pre-Motion Discovery Conference addressed to Judge Katherine
                           Polk Failla from Andrew C. Smith dated 01/09/2023. On January 20, 2023, the Court
                           held a telephonic conference to discuss Respondent's compliance with his post-judgment
                           discovery obligations. For the reasons discussed at that conference, the parties are

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                              ORDERED to meet and confer in the month of January, following Respondent's
                              deposition, to ascertain what additional documents Respondent intends to produce and to
                              clarify Respondent's objections to Petitioners' original 20 Requests for Production
                              (RPFs). Within two business days of that meeting, Respondent is ORDERED to file a
                              letter on the docket confirming that the meet and confer took place and listing
                              Respondent's outstanding objections to Petitioners' RFPs. If after the meet and confer
                              Petitioners remain interested in filing a motion to compel discovery from Respondent,
                              they shall file a proposed briefing schedule for such motion on the docket on or before
                              February 6, 2023. Separately, but also on January 20, 2023, the Court received from
                              Respondent's former attorney Benjamin Xue proposed redactions to certain documents
                              responsive to the Document Subpoena in accordance with the Court's January 6, 2023
                              oral decision on Mr. Xue's motion to quash. Having reviewed the proposed redactions and
                              Mr. Xue's justification thereof, the Court finds the proposed redactions necessary to
                              protect information protected by the attorney-client privilege. To the extent that Mr. Xue
                              has not already done so, Mr. Xue is directed to produce the redacted invoices to
                              Petitioners on or before January 24, 2023. The Clerk of Court is directed to terminate the
                              motion at docket entry 93. SO ORDERED. (Signed by Judge Katherine Polk Failla on
                              1/23/2023) (rro) (Entered: 01/23/2023)
  02/02/2023           101 LETTER addressed to Judge Katherine Polk Failla from Hui Qin dated 2/2/2023 re:
                           Respondent's Letter in Response to the Court's Order. Document filed by Hui Qin..
                           (Zhang, Xintong) (Entered: 02/02/2023)
  02/06/2023           102 LETTER MOTION to Compel /Letter Motion for Approval of Proposed Briefing
                           Schedule on Motion to Compel addressed to Judge Katherine Polk Failla from Andrew C.
                           Smith dated February 6, 2023. Document filed by Huzhou Chuangtai Rongyuan
                           Investment Management Partnership, Huzhou Huihengying Equity Investment
                           Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Smith, Andrew)
                           (Entered: 02/06/2023)
  02/07/2023           103 ORDER: granting 102 Letter Motion to Compel. Application GRANTED. The parties
                           shall adhere to the briefing deadlines outlined above. The Clerk of Court is directed to
                           terminate the motion at docket entry 102. SO ORDERED.. (Signed by Judge Katherine
                           Polk Failla on 2/06/2023) (ama) (Entered: 02/07/2023)
  02/07/2023                   Set/Reset Deadlines: Motions due by 2/14/2023. (ama) (Entered: 02/07/2023)
  02/14/2023           104 MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt. Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                           Huirongsheng Equity Investment Partnership..(Sant, Geoffrey) (Entered: 02/14/2023)
  02/14/2023           105 LETTER MOTION to Seal /Petitioners' Letter Motion for Leave to file Under Seal
                           addressed to Judge Katherine Polk Failla from Geoffrey Sant dated February 14, 2023.
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership..(Sant, Geoffrey) (Entered: 02/14/2023)
  02/14/2023           106 DECLARATION of Carol Lee in Support re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt..
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                           Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                           Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O,


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                              # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21
                              Appendix A, # 22 Appendix B).(Sant, Geoffrey) (Entered: 02/14/2023)
  02/14/2023           107 DECLARATION of Lening Liu in Support re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt..
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2).(Sant, Geoffrey)
                           (Entered: 02/14/2023)
  02/14/2023           108 ***SELECTED PARTIES***DECLARATION of Carol Lee in Support re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt.. Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou
                           Huihengying Equity Investment Partnership, Hui Qin. (Attachments: # 1 Exhibit B, # 2
                           Exhibit C, # 3 Exhibit D, # 4 Exhibit E, # 5 Exhibit I, # 6 Exhibit K, # 7 Exhibit L, # 8
                           Exhibit M, # 9 Exhibit N, # 10 Exhibit O, # 11 Exhibit P, # 12 Exhibit Q, # 13 Exhibit S,
                           # 14 Exhibit T, # 15 Appendix A, # 16 Appendix B)Motion or Order to File Under Seal:
                           105 .(Sant, Geoffrey) (Entered: 02/14/2023)
  02/14/2023           109 ***SELECTED PARTIES***DECLARATION of Lening Liu in Support re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt.. Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou
                           Huihengying Equity Investment Partnership, Hui Qin. (Attachments: # 1 Exhibit
                           2)Motion or Order to File Under Seal: 105 .(Sant, Geoffrey) (Entered: 02/14/2023)
  02/14/2023           110 MEMORANDUM OF LAW in Support re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt. .
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership..(Sant, Geoffrey) (Entered: 02/14/2023)
  02/14/2023            111 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 104 MOTION
                            to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an Order for
                            Civil Contempt. . Document filed by Huzhou Chuangtai Rongyuan Investment
                            Management Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou
                            Huihengying Equity Investment Partnership, Hui Qin. Motion or Order to File Under
                            Seal: 105 .(Sant, Geoffrey) (Entered: 02/14/2023)
  02/15/2023           112 ORDER granting 105 Letter Motion to Seal. Application GRANTED. Petitioners may
                           file redacted versions of their opening memorandum of law and supportive declarations
                           from Lening Liu and Carol Lee. The Clerk of Court is directed to maintain the unredacted
                           versions of those documents (Dkt. #108, 109, 111) under seal, viewable only to the
                           parties and the Court. The Clerk of Court is further directed to terminate the motion at
                           docket entry 105. (Signed by Judge Katherine Polk Failla on 2/15/2023) (rro) (Entered:
                           02/15/2023)
  02/28/2023           113 NOTICE of Notice of Changeof Law Firm Name. Document filed by Hui Qin..(Zhang,
                           Xintong) (Entered: 02/28/2023)
  02/28/2023           114 ***SELECTED PARTIES***DECLARATION of Xintong Zhang in Opposition re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt.. Document filed by Hui Qin. (Attachments: # 1 Exhibit Exhibit
                           A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D)Motion or Order to
                           File Under Seal: 112 .(Zhang, Xintong) (Entered: 02/28/2023)

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  02/28/2023           115 ***SELECTED PARTIES***DECLARATION of Hui Qin in Opposition re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt.. Document filed by Hui Qin, Huzhou Chuangtai Rongyuan
                           Investment Management Partnership, Huzhou Huihengying Equity Investment
                           Partnership, Huzhou Huirongsheng Equity Investment Partnership. (Attachments: # 1
                           Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D, # 5
                           Exhibit Exhibit E, # 6 Exhibit Exhibit F)Motion or Order to File Under Seal: 112 .
                           (Zhang, Xintong) (Entered: 02/28/2023)
  02/28/2023           116 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt. . Document filed by Hui Qin, Huzhou Chuangtai Rongyuan
                           Investment Management Partnership, Huzhou Huihengying Equity Investment
                           Partnership, Huzhou Huirongsheng Equity Investment Partnership. Motion or Order to
                           File Under Seal: 112 .(Zhang, Xintong) (Entered: 02/28/2023)
  02/28/2023           117 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Opposition re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt. . Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                           Huirongsheng Equity Investment Partnership, Hui Qin, Seiden Law LLP. Motion or
                           Order to File Under Seal: 112 .(Zhang, Xintong) (Entered: 02/28/2023)
  02/28/2023           118 DECLARATION of Xintong Zhang in Opposition re: 104 MOTION to Compel /Notice
                           of Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt..
                           Document filed by Hui Qin. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, #
                           3 Exhibit Exhibit C, # 4 Exhibit Exhibit D).(Zhang, Xintong) (Entered: 02/28/2023)
  02/28/2023           119 DECLARATION of Hui Qin in Opposition re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt..
                           Document filed by Hui Qin. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, #
                           3 Exhibit Exhibit C, # 4 Exhibit Exhibit D, # 5 Exhibit Exhibit E, # 6 Exhibit Ehibit F).
                           (Zhang, Xintong) (Entered: 02/28/2023)
  02/28/2023           120 MEMORANDUM OF LAW in Opposition re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt. .
                           Document filed by Hui Qin..(Zhang, Xintong) (Entered: 02/28/2023)
  03/01/2023           121 MEMORANDUM OF LAW in Opposition re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt. .
                           Document filed by Seiden Law LLP..(Zhang, Xintong) (Entered: 03/01/2023)
  03/01/2023           122 FIRST LETTER MOTION to Seal addressed to Judge Katherine Polk Failla from Hui
                           Qin dated 3/1/23. Document filed by Hui Qin..(Zhang, Xintong) (Entered: 03/01/2023)
  03/02/2023           123 ORDER granting 122 Letter Motion to Seal. Application GRANTED. The Clerk of Court
                           is directed to maintain docket entries 114-117 under seal, viewable only to the parties and
                           the Court. The Clerk of Court is further directed to terminate the motion at docket entry
                           122. (Signed by Judge Katherine Polk Failla on 3/2/2023) (rro) (Entered: 03/02/2023)
  03/09/2023           124 LETTER MOTION to Seal /Request for Leave to File certain documents with redactions
                           and certain documents under seal addressed to Judge Katherine Polk Failla from
                           Geoffrey Sant dated March 9, 2023. Document filed by Huzhou Chuangtai Rongyuan
                           Investment Management Partnership, Huzhou Huihengying Equity Investment
                           Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Sant, Geoffrey)
                           (Entered: 03/09/2023)

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  03/09/2023           125 LETTER MOTION for Oral Argument /Request for Oral Argument and In-Person
                           Hearing addressed to Judge Katherine Polk Failla from Geoffrey Sant dated March 9,
                           2023. Document filed by Huzhou Chuangtai Rongyuan Investment Management
                           Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                           Equity Investment Partnership..(Sant, Geoffrey) (Entered: 03/09/2023)
  03/09/2023           126 DECLARATION of Carol Lee in Support re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt..
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                           Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                           Exhibit 10).(Sant, Geoffrey) (Entered: 03/09/2023)
  03/09/2023           127 ***SELECTED PARTIES***DECLARATION of Carol Lee in Support re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt.. Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou
                           Huihengying Equity Investment Partnership, Hui Qin. (Attachments: # 1 Exhibit 1, # 2
                           Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                           Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10)Motion or Order to File Under Seal: 124 .(Sant,
                           Geoffrey) (Entered: 03/09/2023)
  03/09/2023           128 REPLY MEMORANDUM OF LAW in Support re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt. .
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership..(Sant, Geoffrey) (Entered: 03/09/2023)
  03/09/2023           129 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt. . Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou
                           Huihengying Equity Investment Partnership, Hui Qin. Motion or Order to File Under
                           Seal: 124 .(Sant, Geoffrey) (Entered: 03/09/2023)
  03/09/2023           130 REPLY MEMORANDUM OF LAW in Support re: 104 MOTION to Compel /Notice of
                           Petitioners' Motion to Compel, for Sanctions, and for an Order for Civil Contempt.
                           /Petitioners Reply in Support of their Motion for Sanctions against Seiden Law.
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership..(Sant, Geoffrey) (Entered: 03/09/2023)
  03/09/2023           131 ***SELECTED PARTIES*** REPLY MEMORANDUM OF LAW in Support re: 104
                           MOTION to Compel /Notice of Petitioners' Motion to Compel, for Sanctions, and for an
                           Order for Civil Contempt. /Petitioners' Reply in Support of their Motion for Sanctions
                           against Seiden Law LLP. Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou
                           Huihengying Equity Investment Partnership, Hui Qin, Seiden Law LLP. Motion or Order
                           to File Under Seal: 124 .(Sant, Geoffrey) (Entered: 03/09/2023)
  03/10/2023           132 ORDER terminating 125 Letter Motion for Oral Argument. The Court is in receipt of
                           Petitioners' request for oral argument concerning their pending motion to compel, for
                           sanctions, and for an order of civil contempt. If the Court determines that oral argument
                           would be useful, it will promptly reach out to the parties. The Clerk of Court is directed


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                              to terminate the motion at docket entry 125. SO ORDERED. (Signed by Judge Katherine
                              Polk Failla on 3/10/2023) (tg) (Entered: 03/10/2023)
  03/10/2023           133 ORDER granting 124 Letter Motion to Seal. Application GRANTED. The Clerk of Court
                           is directed to maintain docket entries 127, 129, and 131 under seal, viewable only to the
                           parties and the Court. The Clerk of Court is further directed to terminate the motion at
                           docket entry 124. SO ORDERED. (Signed by Judge Katherine Polk Failla on 3/10/2023)
                           (tg) (Entered: 03/10/2023)
  03/31/2023           134 OPINION AND ORDER re: 66 FIRST MOTION for Reconsideration Pursuant to
                           Federal Rule of Civil Procedure Rule 60(b). filed by Hui Qin. For the foregoing reasons,
                           Respondents motion for relief from the judgment is DENIED. The Clerk of Court is
                           directed to terminate the motion at docket entry 66. (Signed by Judge Katherine Polk
                           Failla on 3/31/2023) (rro) (Entered: 03/31/2023)
  04/10/2023                   NOTICE of Hearing: A conference wherein the Court will issue its oral decision on
                               Petitioners' motion to compel and for sanctions has been scheduled for April 18, 2023 at
                               10:00 a.m., which will be held telephonically. On or before April 13, 2023, the parties
                               shall jointly file a list of documents that Respondent has produced since the motion was
                               briefed. At the scheduled time of the conference, the parties are to call (888) 363-4749
                               and enter access code 5123533. Please note that the conference will not be available until
                               10:00 a.m. (Telephone Conference set for 4/18/2023 at 10:00 AM in telephone or video
                               conference before Judge Katherine Polk Failla.) ***No PDF is attached to this entry. (tn)
                               (Entered: 04/10/2023)
  04/13/2023           135 NOTICE of Filing of the Parties Joint Submission of List of Documents re: Notice of
                           Hearing,,. Document filed by Huzhou Chuangtai Rongyuan Investment Management
                           Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng
                           Equity Investment Partnership. (Attachments: # 1 Exhibit A).(Smith, Andrew) (Entered:
                           04/13/2023)
  04/18/2023                   Minute Entry for proceedings held before Judge Katherine Polk Failla: Telephone
                               Conference held on 4/18/2023. Attorneys Andrew C. Smith, Geoffrey R. Sant, and Carol
                               Lee representing Petitioners present. Attorneys Amiad Moshe Kushner and Xintong
                               Zhang representing Respondent present. The Court orders Respondent to pay Petitioners'
                               reasonable expenses and attorneys' fees incurred in connection with their motion to
                               compel, for sanctions, and for civil contempt. (Dkt. #104). Respondent shall respond in
                               full to the document requests contained in Appendix A of the Lee Declaration and to the
                               interrogatories contained in Appendix B of the Lee Declaration no later than April 21,
                               2023, and shall sit for an additional deposition of up to two days in length beginning on
                               April 24, 2023. Petitioners' motion for costs and fees is due by 5/9/2023; Opposition is
                               due by 6/2/2023; and Reply is due by 6/9/2023. (Court Reporter recorded) (tn) (Entered:
                               04/18/2023)
  04/21/2023           136 TRANSCRIPT of Proceedings re: Conference held on 4/18/2023 before Judge Katherine
                           Polk Failla. Court Reporter/Transcriber: Marissa Mignano, (212) 805-0300. Transcript
                           may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                           date it may be obtained through PACER. Redaction Request due 5/12/2023. Redacted
                           Transcript Deadline set for 5/22/2023. Release of Transcript Restriction set for 7/20/2023.
                           (nmo) (Entered: 04/21/2023)
  04/21/2023           137 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a Conference proceeding held on 04/18/2023 has been filed by the
                           court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                           calendar days to file with the court a Notice of Intent to Request Redaction of this
                           transcript. If no such Notice is filed, the transcript may be made remotely electronically
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?130172137411011-L_1_0-1                                                 20/24
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                              available to the public without redaction after 90 calendar days... (nmo) (Entered:
                              04/21/2023)
  04/21/2023           138 MOTION for Hugh M. Ray III to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                           number ANYSDC-27642146. Motion and supporting papers to be reviewed by
                           Clerk's Office staff. Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                           Huirongsheng Equity Investment Partnership. (Attachments: # 1 Affidavit Declaration of
                           Hugh Ray III in Support of Motion for Pro Hac Vice Admission, # 2 Exhibit A - Texas
                           Cert. of Good Standing, # 3 Exhibit B - N.M. Cert. of Good Standing, # 4 Text of
                           Proposed Order Proposed Order On Pro Hac Vice of Hugh Ray III).(Ray, Hugh)
                           (Entered: 04/21/2023)
  04/24/2023                   >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No.
                               138 MOTION for Hugh M. Ray III to Appear Pro Hac Vice . Filing fee $ 200.00,
                               receipt number ANYSDC-27642146. Motion and supporting papers to be reviewed
                               by Clerk's Office staff.. The document has been reviewed and there are no
                               deficiencies. (aea) (Entered: 04/24/2023)
  04/24/2023           139 ORDER FOR PRO HAC VICE ADMISSION OF HUGH M. RAY, III granting 138
                           Motion for Hugh M. Ray, III to Appear Pro Hac Vice. The Clerk of Court is directed to
                           terminate the motion at docket entry 138. (Signed by Judge Katherine Polk Failla on
                           4/24/2023) (rro) (Entered: 04/24/2023)
  04/28/2023           140 NOTICE OF APPEAL from 46 Judgment,,,,,, 44 Memorandum & Opinion,,,, 134
                           Memorandum & Opinion,. Document filed by Hui Qin. Filing fee $ 505.00, receipt
                           number ANYSDC-27672663. Form C and Form D are due within 14 days to the Court of
                           Appeals, Second Circuit..(Zhang, Xintong) (Entered: 04/28/2023)
  04/28/2023                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 140 Notice of Appeal.(tp) (Entered: 04/28/2023)
  04/28/2023                   Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                               Appeals re: 140 Notice of Appeal. (tp) (Entered: 04/28/2023)
  04/28/2023                   Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                               Electronic Files for 140 Notice of Appeal, filed by Hui Qin were transmitted to the U.S.
                               Court of Appeals. (tp) (Entered: 04/28/2023)
  05/02/2023           141 LETTER MOTION to Seal Exhibits to Respondent's Letter Motion addressed to Judge
                           Katherine Polk Failla from HUI QIN dated 5/2/2023. Document filed by Hui Qin..
                           (Kushner, Amiad) (Entered: 05/02/2023)
  05/02/2023           142 LETTER MOTION for Conference addressed to Judge Katherine Polk Failla from HUI
                           QIN dated 5/2/2023. Document filed by Hui Qin. (Attachments: # 1 Exhibit Exhibit 1 -
                           under seal, # 2 Exhibit Exhibit 2 - under seal).(Kushner, Amiad) (Entered: 05/02/2023)
  05/02/2023           143 ***SELECTED PARTIES*** LETTER MOTION for Conference addressed to Judge
                           Katherine Polk Failla from HUI QIN dated 5/2/2023. Document filed by Hui Qin,
                           Huzhou Chuangtai Rongyuan Investment Management Partnership, Huzhou Huihengying
                           Equity Investment Partnership, Huzhou Huirongsheng Equity Investment Partnership.
                           (Attachments: # 1 Exhibit Exhibit 1 - Doctor's Letter 4.27, # 2 Exhibit Exhibit 2 -
                           Doctor's Letter 5.1)Motion or Order to File Under Seal: 141 .(Kushner, Amiad) (Entered:
                           05/02/2023)
  05/02/2023           144 LETTER RESPONSE in Opposition to Motion addressed to Judge Katherine Polk Failla
                           from Hugh Ray, III dated 5/2/2023 re: 143 LETTER MOTION for Conference addressed
                           to Judge Katherine Polk Failla from HUI QIN dated 5/2/2023., 142 LETTER MOTION
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?130172137411011-L_1_0-1                                               21/24
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                              for Conference addressed to Judge Katherine Polk Failla from HUI QIN dated 5/2/2023. .
                              Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                              Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                              Investment Partnership..(Ray, Hugh) (Entered: 05/02/2023)
  05/02/2023                   Minute Entry for proceedings held before Judge Katherine Polk Failla: Telephone
                               Conference held on 5/2/2023. Attorneys Geoffrey Sant, Andrew Smith, and Hugh Ray
                               representing Petitioners present. Attorneys Amiad Kushner, Xintong Zhang, and Jen
                               Blecher representing Respondent present. The Court convened an emergency conference
                               to discuss Respondent's request to adjourn his continued deposition (scheduled for
                               tomorrow) based on his medical issues (Dkt. #141-143). The deposition shall proceed on
                               5/3/2023 for up to four hours, alternating 45 minutes on and 15 minutes off. (Court
                               Reporter recorded) (tn) (Entered: 05/09/2023)
  05/03/2023           145 NOTICE OF APPEARANCE by Jennifer Hilda Blecher on behalf of Hui Qin..(Blecher,
                           Jennifer) (Entered: 05/03/2023)
  05/03/2023           146 ORDER granting 141 Letter Motion to Seal; terminating 142 Letter Motion for
                           Conference re: 141 LETTER MOTION to Seal Exhibits to Respondent's Letter Motion
                           addressed to Judge Katherine Polk Failla from HUI QIN dated 5/2/2023., 142 LETTER
                           MOTION for Conference addressed to Judge Katherine Polk Failla from HUI QIN dated
                           5/2/2023., 143 LETTER MOTION for Conference addressed to Judge Katherine Polk
                           Failla from HUI QIN dated 5/2/2023. ; terminating 143 Letter Motion for Conference re:
                           141 LETTER MOTION to Seal Exhibits to Respondent's Letter Motion addressed to
                           Judge Katherine Polk Failla from HUI QIN dated 5/2/2023., 142 LETTER MOTION for
                           Conference addressed to Judge Katherine Polk Failla from HUI QIN dated 5/2/2023., 143
                           LETTER MOTION for Conference addressed to Judge Katherine Polk Failla from HUI
                           QIN dated 5/2/2023. The Court is in receipt of Respondent's letter requesting a
                           conference to discuss his request to adjourn his May 3, 2023 deposition (Dkt. #142, 143),
                           Respondent's above request to file exhibits to that letter under seal, and Petitioners'
                           response (Dkt. #144). The Court held a conference to discuss Respondent's request at
                           7:45 p.m. on May 2, 2023. For the reasons stated at that conference, Respondent is
                           ORDERED to appear for a deposition of up to four hours on May 3, 2023. Respondent
                           may take a 15 minute break after every 45 minutes of questioning as his health requires.
                           Respondent's request to file his letter under seal is GRANTED. The Clerk of Court is
                           directed to maintain docket entry 143 under seal, viewable only to the parties and the
                           Court. The Clerk of Court is additionally directed to terminate the motions at docket
                           entries 141, 142, 143. (Signed by Judge Katherine Polk Failla on 5/3/2023) (rro)
                           (Entered: 05/03/2023)
  05/03/2023                   Set/Reset Deadlines: Deposition due by 5/3/2023. (rro) (Entered: 05/03/2023)
  05/09/2023           147 LETTER MOTION to Seal / Petitioners' Request for Leave to File Documents with
                           Redactions and Under Seal addressed to Judge Katherine Polk Failla from Geoffrey Sant
                           dated 05/09/2023. Document filed by Huzhou Chuangtai Rongyuan Investment
                           Management Partnership, Huzhou Huihengying Equity Investment Partnership, Huzhou
                           Huirongsheng Equity Investment Partnership..(Sant, Geoffrey) (Entered: 05/09/2023)
  05/09/2023           148 MOTION for Attorney Fees / Notice of Petitioners' Motion for Attorney's Fees and Costs.
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huihengying Equity Investment Partnership, Huzhou Huirongsheng Equity
                           Investment Partnership..(Sant, Geoffrey) (Entered: 05/09/2023)
  05/09/2023           149 DECLARATION of Carol Lee in Support re: 148 MOTION for Attorney Fees / Notice of
                           Petitioners' Motion for Attorney's Fees and Costs.. Document filed by Huzhou Chuangtai
                           Rongyuan Investment Management Partnership, Huzhou Huihengying Equity Investment
                           Partnership, Huzhou Huirongsheng Equity Investment Partnership. (Attachments: # 1
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?130172137411011-L_1_0-1                                            22/24
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                              Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                              Exhibit G, # 8 Exhibit H).(Sant, Geoffrey) (Entered: 05/09/2023)
  05/09/2023           150 ***SELECTED PARTIES***DECLARATION of Carol Lee in Support re: 148
                           MOTION for Attorney Fees / Notice of Petitioners' Motion for Attorney's Fees and
                           Costs.. Document filed by Huzhou Chuangtai Rongyuan Investment Management
                           Partnership, Huzhou Huirongsheng Equity Investment Partnership, Huzhou Huihengying
                           Equity Investment Partnership, Hui Qin. (Attachments: # 1 Exhibit A -Petitioners May 8-
                           9, 2023 email and response from Qins counsel, # 2 Exhibit B-Petitioners invoices
                           incurred in connection with the Sanctions Motion, # 3 Exhibit C- Petitioners lodestar
                           calculation, # 4 Exhibit D-List of timekeepers for whom fees are sought in this Motion, #
                           5 Exhibit E- Seiden Laws Engagement Letter, # 6 Exhibit F-Seiden Laws November 15,
                           2022 invoice to Qin)Motion or Order to File Under Seal: 147 .(Sant, Geoffrey) (Entered:
                           05/09/2023)
  05/09/2023           151 MEMORANDUM OF LAW in Support re: 148 MOTION for Attorney Fees / Notice of
                           Petitioners' Motion for Attorney's Fees and Costs. . Document filed by Huzhou
                           Chuangtai Rongyuan Investment Management Partnership, Huzhou Huihengying Equity
                           Investment Partnership, Huzhou Huirongsheng Equity Investment Partnership..(Sant,
                           Geoffrey) (Entered: 05/09/2023)
  05/09/2023           152 ***SELECTED PARTIES*** MEMORANDUM OF LAW in Support re: 148 MOTION
                           for Attorney Fees / Notice of Petitioners' Motion for Attorney's Fees and Costs. .
                           Document filed by Huzhou Chuangtai Rongyuan Investment Management Partnership,
                           Huzhou Huirongsheng Equity Investment Partnership, Huzhou Huihengying Equity
                           Investment Partnership, Hui Qin. Motion or Order to File Under Seal: 147 .(Sant,
                           Geoffrey) (Entered: 05/09/2023)
  05/10/2023           153 ORDER: granting 147 Letter Motion to Seal. Application GRANTED. The Clerk of
                           Court is directed to maintain docket entries 150 and 152 under seal, viewable to the
                           parties and the Court. SO ORDERED. (Signed by Judge Katherine Polk Failla on
                           5/10/2023) (ama) (Entered: 05/10/2023)
  05/11/2023           154 TRANSCRIPT of Proceedings re: TELEPHONE CONFERENCE held on 5/2/2023
                           before Judge Katherine Polk Failla. Court Reporter/Transcriber: Carole Ludwig, (212)
                           420-0771. Transcript may be viewed at the court public terminal or purchased through the
                           Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                           After that date it may be obtained through PACER. Redaction Request due 6/1/2023.
                           Redacted Transcript Deadline set for 6/12/2023. Release of Transcript Restriction set for
                           8/9/2023. (js) (Entered: 05/11/2023)
  05/11/2023           155 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                           official transcript of a TELEPHONE CONFERENCE proceeding held on 5/2/2023 has
                           been filed by the court reporter/transcriber in the above-captioned matter. The parties
                           have seven (7) calendar days to file with the court a Notice of Intent to Request
                           Redaction of this transcript. If no such Notice is filed, the transcript may be made
                           remotely electronically available to the public without redaction after 90 calendar days....
                           (js) (Entered: 05/11/2023)



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                                   Billable Pages: 22                     Cost:     2.20




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                Exhibit C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HUZHOU CHUANGTAI RONGYUAN INVESTMENT
 MANAGEMENT PARTNERSHIP; HUZHOU
 HUIHENGYING EQUITY INVESTMENT
 PARTNERSHIP; and HUZHOU HUIRONGSHENG                      21 Civ. 9221 (KPF)
 EQUITY INVESTMENT PARTNERSHIP,
                                                         OPINION AND ORDER
                           Petitioners,

                          -v.-

 HUI QIN,

                           Respondent.

KATHERINE POLK FAILLA, District Judge:

      Three Chinese companies, Huzhou Chuangtai Rongyuan Investment

Management Partnership (“Chuangtai Rongyuan”), Huzhou Huihengying

Equity Investment Partnership (“Huihengying”), and Huzhou Huirongsheng

Equity Investment Partnership (“Huirongsheng”) (together, “Petitioners”),

invested Renminbi (“RMB”) 1.5 billion in Chengdu Run Yun Culture

Communication Co., Ltd. (“Chengdu Run Yun”) in anticipation of the

company’s public offering on China’s premiere stock market. Several years

later, Petitioners instigated an arbitration proceeding against Chengdu Run

Yun and several of its affiliates in Beijing, accusing them of breaching their

obligations under the relevant investment agreements. The arbitration panel

ultimately issued an award in Petitioners’ favor. Victorious in China,

Petitioners now ask this Court to confirm the award against Respondent Hui

Qin in New York. For the following reasons, the Court grants Petitioners’

motion for summary judgment and confirms the arbitral award.
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                                     BACKGROUND 1

A.    Factual Background

      1.     The Contractual Relationship

      The dispute at issue is between the original shareholders of Chengdu

Run Yun and later investors in the company. Chengdu Run Yun is a Chinese

limited liability company that owns and operates movie theaters. (Pet. 56.1

¶ 6; CIETAC Award 5). In 2017, it had just two registered shareholders:

Shenzhen SMI Shengdian Cultural and Media Group Co., Ltd. (“SMI

Shengdian”), which held 51% of Chengdu Run Yun’s equity, and SMI

International Cinemas Limited (“SMI International”), which held the remaining

49%. (Resp. 56.1 ¶¶ 4-6). Hui Qin, for his part, was the full owner of SMI



1     The facts set forth in this Opinion are drawn from the parties’ submissions in
      connection with Petitioners’ petition to confirm a foreign arbitral award (Dkt. #1), and
      their motion for summary judgment (Dkt. #15). The Court draws primarily from
      Petitioners’ Local Civil Rule 56.1 Statement of Material Undisputed Facts (Dkt. #17
      (“Pet. 56.1”)) and Respondent’s Local Civil Rule 56.1 Counter Statement of Material
      Undisputed Facts (Dkt. #32 (“Resp. 56.1”)). Citations to a party’s Rule 56.1 Statement
      incorporate by reference the documents cited therein. In addition, “[e]ach numbered
      paragraph in the statement of material facts ... will be deemed to be admitted for
      purposes of the motion unless specifically controverted by a correspondingly numbered
      paragraph in the statement required to be served by the opposing party.” Local Civil
      Rule 56.1(c).
      The Court sources additional facts from the declarations submitted by the parties and
      the exhibits attached thereto, including the English translation of the arbitral award
      that Petitioners seek to confirm (the “CIETAC Award” (Dkt. #7-2)); the English
      translation of the Capital Investment Agreement with Chuangtai Rongyuan (the
      “Chuangtai Rongyuan Agreement” (Dkt. #7-4)); the English translation of the Capital
      Investment Agreement with Huirongsheng (the “Huirongsheng Agreement” (Dkt. #7-6));
      the English translation of the Capital Investment Agreement with Huihengying (the
      “Huihengying Agreement” (Dkt. #7-8)); and the English translation of the Supplement to
      the Capital Increase Agreements (the “Supplemental Agreement” (Dkt. #7-10)). Other
      facts sourced from the declarations and their accompanying exhibits are cited using the
      convention “[Name] Decl., Ex. [ ].”
      For ease of reference, the Court refers to Petitioners’ brief in support of their motion for
      summary judgment as “Pet. Br.” (Dkt. #16), to the brief submitted by Respondent Qin in
      opposition as “Resp. Br.” (Dkt. #28), and to Petitioners’ reply as “Pet. Reply” (Dkt. #35).

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Shengdian and a majority shareholder of SMI Holdings, which indirectly held

100% of SMI International’s equity. (Pet. 56.1 ¶ 7).

      In anticipation of being listed on China’s main stock market, Chengdu

Run Yun entered a series of investment agreements with Petitioners, each of

which was a limited partnership registered in China. (Qin Decl. (Dkt. #33)

¶¶ 6-8; Pet. 56.1 ¶¶ 1-3). To that end, on March 15, 2017, each Petitioner

signed a Capital Increase Agreement with Chengdu Run Yun, SMI Shengdian,

and SMI International. (Resp. 56.1 ¶ 8; see also Chuangtai Rongyuan

Agreement; Huirongsheng Agreement; Huihengying Agreement). 2 Through

those agreements, each Petitioner promised to invest RMB 500,000,000 in

Chengdu Run Yun in exchange for proportional equity in the company. (Resp.

56.1 ¶ 10; see also, e.g., Chuangtai Rongyuan Agreement art. 2).

      Also on March 15, 2017, each Petitioner entered into a Supplemental

Agreement with Qin and SMI Shengdian. (Pet. 56.1 ¶ 9; see also Supplemental

Agreement). As relevant here, the Supplemental Agreement details

circumstances under which the “original shareholders” of Chengdu Run Yun

were required to buy back Petitioners’ equity in the company. (Supplemental

Agreement art. 4). For instance, Petitioners could require a stock buyback if

Chengdu Run Yun failed to meet certain performance targets or was not

successfully listed on the stock market within an agreed-upon timeframe. (Id.

arts. 4.1.2, 4.1.4).




2     The Court refers to these agreements collectively as the “Capital Increase Agreements.”

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      The Capital Increase Agreements and the Supplemental Agreement each

contain arbitration clauses. Article 14.3 of each Capital Increase Agreement

provides:

            If the parties fail to reach a solution through amicable
            negotiation within [60] days from the date of dispute,
            the dispute shall be submitted to China International
            Economic and Trade Arbitration Commission (Beijing)
            for arbitration in accordance with the arbitration rules
            in effect at the time of applying for arbitration.

(Chuangtai Rongyuan Agreement art. 14.3; Huirongsheng Agreement art. 14.3;

Huihengying Agreement art. 14.3). Similarly, Article 14.2 of the Supplemental

Agreement stipulates that:

            Any dispute arising from the performance hereof
            between the parties hereto shall be settled through
            negotiation. If negotiation fails, the parties agree to
            submit the dispute to China International Economic
            and Trade Arbitration Commission in Beijing, and the
            arbitration shall be conducted in accordance with its
            arbitration rules in effect at the time of submission of
            the dispute, unless otherwise stipulated in the effective
            award. The actual expenses paid by the parties for
            dispute resolution (including but not limited to
            arbitration fees and reasonable attorney fees) shall be
            borne by the losing party.

(Supplemental Agreement art. 14.2).

      By June 2017, each Petitioner had invested RMB 500,000,000 in

Chengdu Run Yun as promised, for a collective investment of RMB

1,500,000,000. (CIETAC Award 8).

      2.    Arbitration Before the CIETAC

      Approximately three years later, on March 30, 2020, Petitioners

commenced an arbitration against SMI Shengdian, SMI International, Chengdu


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Run Yun, and Qin (together, the “Arbitral Respondents”) before the China

International Economic and Trade Arbitration Commission (“CIETAC”). (Pet.

56.1 ¶ 14). Petitioners alleged that the Arbitral Respondents breached their

obligations under both the Capital Increase Agreements and the Supplemental

Agreement. (CIETAC Award 5-16).

         CIETAC attempted to serve the arbitration materials on Qin three times.

It first mailed notice of the arbitration to Qin on May 26, 2020. (CIETAC

Award 1-2). 3 That mailing was returned as undeliverable. (Id. at 2).

Petitioners then informed CIETAC of Qin’s address at 9 Xiangjun North Alley,

Hujialou Street, Chaoyang District in Beijing (the “North Alley Address”). (Id.).

The North Alley Address was specifically attributed to Qin in the Supplemental

Agreement. (See Qin Decl. ¶ 27). In or about June or July 2020, CIETAC twice

attempted to serve Qin at the North Alley Address. (CIETAC Award 2). CIETAC

determined that the second attempt to serve Qin at the North Alley Address

was successful. (Id.; see also id. at 5 (finding that “all documents and written

notices pertaining to this case have been effectively served by the Arbitration

Court on all parties according to provisions of Article 8 of the Arbitration

Rules”)). What is more, according to the CIETAC Award, no party challenged

the propriety of service when given an opportunity to do so in July 2020. (Id.

at 2).




3        It is not clear from the record where CIETAC sent this initial mailing.

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      On August 24, 2020, CIETAC appointed a panel of three arbitrators to

adjudicate the dispute. (Pet. 56.1 ¶¶ 18-19). The panel was originally

comprised of Xiuming Tao, Yong Li, and Xiaomin Sun. (Id. at ¶ 18). Tao

resigned from the panel on September 25, 2020, and CIETAC designed Lanfang

Liu as his replacement. (Id. at ¶ 20).

      On November 11, 2020, Qin and SMI Shengdian requested that CIETAC

re-send them the arbitration documents. (CIETAC Award 3). In response,

CIETAC mailed Qin and SMI Shengdian additional copies of the Notice of

Arbitration, Notice of Arbitration Panel Formation, Notice of Procedures, and

related documents. (Id. at 3). CIETAC considered these mailings a courtesy

and not renewed service. (Id.). CIETAC also adjourned the hearing set for

November 12, 2020, to December 22, 2020. (Id.).

      The CIETAC panel held a multi-hour hearing in Beijing on December 22,

2020. (Resp. 56.1 ¶ 21). All parties, including Qin, were represented by

counsel and were afforded an opportunity to submit written evidence and

explanations of their positions. (Id. at ¶¶ 23-25). At the hearing, Petitioners

and the Arbitral Respondents presented their claims orally and the panel

questioned them about their positions. (CIETAC Award 4). Through his

attorney, Qin argued to the panel, inter alia, that (i) Petitioners were engaged in

a fraudulent scheme to strip Chengdu Run Yun of its assets and force Qin to

buy back useless Chengdu Run Yun stock (id. at 16-18); (ii) Qin was not an

original shareholder of Chengdu Run Yun and consequently was not bound by

the Supplemental Agreement’s stock buyback provision (id. at 18); and (iii) Qin

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was not properly served with notice of the arbitration (id. at 20-21). In

February 2021, the parties submitted additional evidence and explanations of

their positions to the panel. (Id. at 4).

      The CIETAC panel issued its written decision on April 22, 2021. (Pet.

56.1 ¶¶ 30, 41; see also CIETAC Award). The panel concluded that the Capital

Increase Agreements and the Supplemental Agreement were valid under

Chinese law and were binding on the parties to the arbitration. (Id. at ¶ 35). It

also determined that Qin was an “original shareholder” of Chengdu Run Yun

and thus subject to the Supplemental Agreement’s buyback provision.

(CIETAC Award 42-45).

        The arbitrators then examined each of Petitioners’ seven claims and

explained their reasoning and decision on each. (CIETAC Award 49-60).

Ultimately, the panel found that the Arbitral Respondents had failed to perform

their contractual obligations and awarded damages to Petitioners. (Pet. 56.1

¶ 37). Specifically, it found in Petitioners’ favor fully on claims 1, 2, 5, and 6,

and partially on claims 3, 4, and 7. (Id.). It ordered the Arbitral Respondents

to pay Petitioners within thirty days. (Id. at ¶ 38). 4




4     Specifically, the CIETAC panel found the Arbitral Respondents liable for the following
      damages:
             [i] [SMI Shengdian and Qin Hui] shall jointly and severally pay
             equity acquisition prices to the [Petitioners] to acquire the 3.12%
             equity held by each of the three [Petitioners] in [Chengdu Run Yun].
             Specifically, they shall pay the following amount of equity
             acquisition prices to [each Petitioner]: 500 million yuan in
             Renminbi × (1 + 15% × n/360) － 10 million yuan, n = the number
             of days from May 8, 2017 to the date of the prices actually paid up;
             …

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      To the Court’s knowledge, the Arbitral Respondents have not paid any of

the damages owed to Petitioners under the CIETAC Award to date. (See Resp.

56.1 ¶ 42).




              [ii] [SMI Shengdian and Qin Hui] shall transfer to [Petitioners] 5%
              of the equity in [Chengdu Run Yun], which shall be evenly
              distributed among the [Petitioners].
              [iii] [SMI Shengdian and Qin Hui] shall jointly and severally pay
              150 million yuan in damages to [each Petitioner] respectively for
              delayed payment of the equity acquisition prices.
              [iv] [SMI Shengdian and Qin Hui] shall jointly and severally pay
              1,000,000 yuan, 2,041,666.67 yuan and 2,104,166.67 yuan in
              returns on the security deposit respectively to the [Petitioners], and
              for delayed payment of such returns, additionally pay [Chuangtai
              Rongyuan] damages calculated at an annual rate of 9% of the base
              amount of 1,000,000 yuan for the period from May 9, 2017 to the
              date of such returns being paid up in their entirety, [Huihengying]
              damages calculated at an annual rate of 9% of the base amount of
              2,041,666.67 yuan for the period from June 28, 2017 to the date
              of such returns being paid up in their entirety, and [Huirongsheng]
              damages calculated at an annual rate of 9% of the base amount of
              2,104,166.67 yuan for the period from July 1, 2017 to the date of
              such returns being paid up in their entirety.
              [v] [SMI International and Chengdu Run Yun] shall undertake joint
              and several compensatory liabilities for the failure of [SMI
              Shengdian and Qin Hui] to perform their obligations under the first
              and third determinations.
              [vii] The Respondents shall jointly and severally compensate the
              [Petitioners] for the expenses incurred in dealing with this case,
              including 166,666 yuan in legal cost to [Chuangtai Rongyuan],
              166,667 yuan in legal cost to [Huihengying], 166,667 yuan in legal
              cost to [Huirongsheng], 5,000 yuan in property preservation cost
              to [Chuangtai Rongyuan], 140,000 yuan in property preservation
              guarantee cost to [Chuangtai Rongyuan], 140,000 yuan in property
              preservation guarantee cost to [Huihengying] and 140,000 yuan in
              property preservation guarantee cost to [Huirongsheng].
              [viii] Of the arbitration fee worth RMB 14,481,468 yuan for this
              case, 15% or 2,172,220.20 yuan shall be borne by the [Petitioners],
              while 85% or 12,309,247.80 yuan shall be borne by the
              Respondents. As the arbitration fee has been paid in its entirety by
              the [Petitioners] to the Arbitration Commission, the Respondents
              shall therefore paid [sic] 12,309,247.80 yuan in arbitration fee to
              the [Petitioners] to compensate for the arbitration fee advanced by
              the latter.
      (Pet. 56.1 ¶ 37).

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B.    Procedural Background

      On November 8, 2021, Petitioners commenced this action to confirm the

CIETAC Award by filing a Petition to Confirm and Enforce Arbitration (Dkt. #1);

a memorandum of law in support of that Petition (Dkt. #6); and a supportive

declaration (Dkt. #7). The Court ordered Petitioners to move instead for

confirmation of the arbitral award in the form of a motion for summary

judgment. (Dkt. #11). They did so on December 8, 2021 (Dkt. #15), and Qin

filed his opposition to the motion on April 5, 2022 (Dkt. #27). Petitioners then

filed their reply on April 19, 2022. (Dkt. #35). Qui subsequently filed a motion

for leave to file a sur-reply (Dkt. #39), which motion the Court denied (Dkt.

#41). Accordingly, Petitioners’ motion is now fully briefed and ripe for

resolution.

                                   DISCUSSION

A.    Applicable Law

      The Federal Arbitration Act establishes federal jurisdiction over arbitral

awards governed by the Convention on the Recognition and Enforcement of

Foreign Arbitral Awards (the “New York Convention”). 9 U.S.C. §§ 201-208. An

arbitration is subject to the New York Convention if it arises out of a

commercial relationship that involves at least one foreign citizen or is otherwise

reasonably related to a foreign state. Id. § 202. A corporation is a foreign

citizen if it is incorporated or has its principal place of business outside of the

United States. See id. Because Chuangtai Rongyuan, Huihengying, and

Huirongsheng are all incorporated in China (Pet. 56.1 ¶¶ 1-3), the New York


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Convention governs their petition. See Scandinavian Reins. Co. Ltd. v. Saint

Paul Fire & Marine Ins. Co., 668 F.3d 60, 71 (2d Cir. 2012) (applying the New

York Convention to dispute involving a foreign corporation); Yusuf Ahmed

Alghanim & Sons, W.L.L. v. Toys “R” Us, Inc., 126 F.3d 15, 19 (2d Cir. 1997)

(same).

      For the Court to disregard a foreign arbitral award, the party opposing

enforcement must prove that at least one of the seven defenses listed in the

New York Convention applies. Europcar Italia, S.p.A. v. Maiellano Tours, Inc.,

156 F.3d 310, 313 (2d Cir. 1998); see also 9 U.S.C. § 207 (“The court shall

confirm the award unless it finds one of the grounds for refusal or deferral of

recognition or enforcement of the award specified in the [New York]

Convention.”). Specifically, a court may only refuse to enforce an arbitral

award if:

            [i] The parties to the agreement ... were ... under some
            incapacity, or the said agreement is not valid under the
            law to which the parties have subjected it …; or

            [ii] The party against whom the award is invoked was
            not given proper notice of the appointment of the
            arbitrator or of the arbitration proceedings or was
            otherwise unable to present his case; or

            [iii] The award deals with a difference not contemplated
            by or not falling within the terms of the submission to
            arbitration, or it contains decisions on matters beyond
            the scope of the submission to arbitration ...; or

            [iv] The composition of the arbitral authority or the
            arbitral procedure was not in accordance with the
            agreement of the parties ...; or

            [v] The award has not yet become binding on the parties,
            or has been set aside or suspended by a competent

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               authority of the country in which, or under the law of
               which, the award was made … [or;]

               [vi] The subject matter of the difference is not capable of
               settlement by arbitration under the law of that country;
               or

               [vii] The recognition or enforcement of the award would
               be contrary to the public policy of that country.

New York Convention art. V(1)-(2), June 10, 1958, 21 U.S.T. 2517, 330

U.N.T.S. 38.

      The party opposing enforcement of an arbitral award carries a heavy

burden of proof. Telenor Mobile Commc’ns AS v. Storm LLC, 584 F.3d 396, 405

(2d Cir. 2009). Because of the “strong public policy in favor of international

arbitration,” Encyclopaedia Universalis S.A. v. Encyclopaedia Britannica, Inc.,

403 F.3d 85, 90 (2d Cir. 2005), courts afford foreign arbitral decisions “great

deference,” Duferco Int’l Steel Trading v. T. Klaveness Shipping A/S, 333 F.3d

383, 388 (2d Cir. 2003). Accordingly, the confirmation of an arbitration award

is generally “a summary proceeding that merely makes what is already a final

arbitration award a judgment of the court.” Florasynth, Inc. v. Pickholz, 750

F.2d 171, 176 (2d Cir. 1984).

      Petitions to confirm a foreign arbitral award are treated as motions for

summary judgment. D.H. Blair & Co., Inc. v. Gottdiener, 462 F.3d 95, 109 (2d

Cir. 2006). Summary judgment is warranted when “the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled




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to judgment as a matter of law.” Fed. R. Civ. P. 56(a). 5 A fact is “material” if it

“might affect the outcome of the suit under the governing law,” and is

genuinely disputed “if the evidence is such that a reasonable jury could return

a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986).

      While the moving party bears the initial burden of demonstrating “the

absence of a genuine issue of material fact,” Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986), the party opposing summary judgment “must do more than

simply show that there is some metaphysical doubt as to the material facts,”

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986); see

also Brown v. Henderson, 257 F.3d 246, 252 (2d Cir. 2001). Rather, the non-

moving party “must set forth specific facts showing that there is a genuine

issue for trial.” Parks Real Estate Purchasing Grp. v. St. Paul Fire & Marine Ins.

Co., 472 F.3d 33, 41 (2d Cir. 2006) (quoting Fed. R. Civ. P. 56(e)).

      “When ruling on a summary judgment motion, the district court must

construe the facts in the light most favorable to the non-moving party and

must resolve all ambiguities and draw all reasonable inferences against the

movant.” Dallas Aerospace, Inc. v. CIS Air Corp., 352 F.3d 775, 780 (2d Cir.




5     The 2010 Amendments to the Federal Rules of Civil Procedure revised the summary
      judgment standard from a genuine “issue” of material fact to a genuine “dispute” of
      material fact. See Fed. R. Civ. P. 56, advisory comm. notes (2010 Amendments) (noting
      that the amendment to “[s]ubdivision (a) ... chang[es] only one word — genuine ‘issue’
      becomes genuine ‘dispute.’ ‘Dispute’ better reflects the focus of a summary-
      judgment determination.”). This Court uses the post-amendment standard, but
      continues to be guided by pre-amendment Supreme Court and Second Circuit
      precedent that refer to “genuine issues of material fact.”

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2003). In considering “what may reasonably be inferred” from evidence in the

record, however, the court should not accord the non-moving party the benefit

of “unreasonable inferences, or inferences at war with undisputed facts.”

County of Suffolk v. Long Island Lighting Co., 907 F.2d 1295, 1318 (2d Cir.

1990)). Moreover, “[t]hough [the Court] must accept as true the allegations of

the party defending against the summary judgment motion, ... conclusory

statements, conjecture, or speculation by the party resisting the motion will not

defeat summary judgment.” Kulak v. City of New York, 88 F.3d 63, 71 (2d Cir.

1996) (internal citation omitted) (citing Matsushita, 475 U.S. at 587).

B.    Analysis

      Arbitral awards are not self-enforcing; they are “given force and effect by

being converted to judicial orders by courts.” D.H. Blair & Co., Inc., 462 F.3d at

104. Qin offers four reasons why this Court should not give the CIETAC Award

legal effect in the United States under the New York Convention: (i) the

Supplemental Agreement is not valid; (ii) Qin was not given proper notice of the

arbitration and was otherwise unable to present his case; (iii) the arbitration

was not conducted in accordance with the terms of the Supplemental

Agreement, and (iv) enforcing the award would contravene U.S. public policy.

(Resp. Br. 13). As discussed in the remainder of this section, none of these

reasons is availing.

      1.    The Supplemental Agreement Was Valid

      Qin first opposes the confirmation of the award under Article V(1)(a) of

the New York Convention, which permits courts to refuse to enforce an arbitral


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award if the underlying arbitration agreement “is not valid under the law to

which the parties have subjected it.” New York Convention art. V(1)(a).

Specifically, Qin asserts that the Supplemental Agreement is invalid under

Chinese law because (i) it was not signed by all parties to the Capital Increase

Agreements 6 and (ii) it imposes obligations on him that he cannot perform.

(Resp. Br. 14-16).

      Qin’s failure to identify any Chinese authority to support these theories

is fatal to his Article V(1)(a) defense. “To invoke [Article V(1)(a)], the party

opposing enforcement must furnish the court with … proof that the parties’

agreement did not constitute a valid arbitration agreement under [governing]

law.” Henry v. Murphy, No. M-82 (JFK), 2002 WL 24307, at *3 (S.D.N.Y.

Jan. 8, 2002). Courts thus routinely reject Article V(1)(a) defenses where the

respondent does not provide any source of governing law to consider in making

their rulings. See, e.g., id. (denying Article V(1)(a) defense because respondent

provided “no support” for his assertion of invalidity); Arbitration Between

Overseas Cosmos, Inc. & NR Vessel Corp., No. 97 Civ. 5898 (DC), 1997 WL

757041, at *3 (S.D.N.Y. Dec. 8, 1996) (“Respondent has utterly failed … to cite

any persuasive authority to support its position that the underlying agreement

between the parties is unenforceable under English law.”); Skandia Am. Reins.

Corp. v. Seguros Law Republica, No. 96 Civ. 2289 (SS), 1996 WL 622559, at *6


6     The Capital Increase Agreements were signed by SMI Shengdian, SMI International,
      Chengdu Run Yun, and Petitioners. (Resp. 56.1 ¶ 8). The Supplemental Agreement
      was signed by SMI Shengdian, Qin, and Petitioners. (Id. at ¶ 9). Qin argues that the
      absence of the signatures of Chengdu Run Yun and SMI International on the
      Supplemental Agreement invalidates the supplement. (Resp. Br. 14-15).

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(S.D.N.Y. Sept. 20, 1996) (denying Article V(1)(a) defense because respondent

“proffered absolutely no proof” of contract invalidity). The Capital Increase

Agreements and the Supplemental Agreement clearly provide that Chinese law

governs disputes between Chengdu Run Yun, its owners, and its investors.

(See, e.g., Huirongsheng Agreement art. 14.1 (“The validity, interpretation and

implementation of this Agreement and the settlement of disputes arising from

this Agreement shall be governed by Chinese laws.”); Supplemental Agreement

art. 14.1 (“The conclusion, entry into force, performance, interpretation,

modification, dispute resolution and termination of this Agreement shall be

governed by the current Chinese laws, administrative regulations and rules.”)).

Qin does not offer a single source —Chinese or otherwise — to prove that the

Supplemental Agreement is invalid due to either lack of signatures or

impossibility, and this Court’s research discloses none. In the absence of this

authority, Qin’s Article V(1)(a) defenses fail.

      Qin’s theory fails for a second reason. Qin maintains that the

Supplemental Agreement cannot validly be enforced against him because he is

not an original shareholder of Chengdu Run Yun. (Resp. Br. 15-16). To

review, the Supplemental Agreement’s buyback provision requires Chengdu

Run Yun’s “original shareholders” to repurchase Petitioners’ stock if certain

triggering events occur. (Supplemental Agreement art. 4). Qin reasons that he

is not an original shareholder because he never directly owned equity in

Chengdu Run Yun, and instead merely controlled the companies that held

Chengdu Run Yun’s stock. (Resp. Br. 14-16). However framed, Qin’s

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argument is not one about contract validity, but rather is an attempt to

relitigate the substance of the arbitral panel’s findings.

      The merits of the underlying arbitration are beyond the scope of this

Court’s review, as the Second Circuit has made clear:

            A reviewing court may not vacate an award “merely
            because it is convinced that the arbitration panel made
            the wrong call on the law. On the contrary, the award
            should be enforced, despite a court’s disagreement with
            it on the merits, if there is a barely colorable
            justification for the outcome reached.”

Matthew v. Papua New Guinea, 398 F. App’x 646, 648 (2d Cir. 2010) (summary

order) (quoting Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 548 F.3d 85, 92 (2d

Cir. 2008)). It does not matter whether this Court agrees with the arbitrators’

interpretation of the Supplemental Agreement; so long as the panel considered

the issue and reached a plausible conclusion, its determination controls. See

HDI Glob. SE v. Phillips 66 Co., No. 20 Civ. 631 (RMB) (GWG), 2020 WL

2415588, at *3 (S.D.N.Y. May 12, 2020) (“Whether the Panel’s interpretation of

the Contract or [Respondent’s] interpretation of it is correct is immaterial —

Courts do not have the power to review the merits of arbitrators’ contract

interpretations.” (internal quotation marks and citations omitted)).

      The CIETAC panel more than satisfied this minimal requirement. To

interpret the phrase “original shareholders” in the Supplemental Agreement,

the panel looked to the text of the provision, the relationship of the provision to

the contract as a whole, and the parties’ intent in contracting. (CIETAC

Award 42-45). In light of these considerations, it concluded that “original

shareholders” did “not merely refer to registered shareholders of [Chengdu Run
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Yun] on the date of signing the agreement, but also include[s] actual controller

Qin Hui,” due to his majority stake in both of Chengdu Run Yun’s

shareholders. (Id. at 44). Although perhaps not the only way to interpret the

phrase, the arbitrators’ conclusion is certainly supportable. See Stati v.

Republic of Kazakhstan, 302 F. Supp. 3d 187, 204 (D.D.C. 2018) (rejecting

respondent’s argument that award should not be enforced because petitioner

was not an “investor” under investment agreement at issue because there was

“no reason to second-guess the tribunal’s conclusion” under the court’s

“extremely limited” review). Qin thus has not met his burden under Article

V(1)(a).

       2.    Qin Was Able to Present His Case

       Qin next invokes Article V(1)(b) of the New York Convention, which

provides a defense to enforcement where “[t]he party against whom the award

is invoked was not given proper notice of the appointment of the arbitrator or of

the arbitration proceedings or was otherwise unable to present his case.” New

York Convention art. V(1)(b). Article V(1)(b) “essentially sanctions the

application of the forum state’s standards of due process.” Iran Aircraft Indus.

v. Avco Corp., 980 F.2d 141, 145 (2d Cir. 1992) (quoting Parsons & Whittemore

Overseas Co., Inc. v. Societe Generale De L’Industrie du Papier (RAKTA), 508

F.2d 969, 975 (2d Cir. 1974)). In the United States, the “[t]he fundamental

requirement of due process is the opportunity to be heard ‘at a meaningful time

and in a meaningful manner.’” Id. at 146 (quoting Mathews v. Eldridge, 424

U.S. 319, 333 (1976)). Key to this requirement is “notice reasonably


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calculated, under all the circumstances, to apprise [him] of the pendency of the

action and afford [him] an opportunity to present [his] objections.” Mullane v.

Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950).

      The procedures CIETAC used to serve Qin were not “fundamentally

unfair” such that they violated due process. See Abu Dhabi Inv. Auth. v.

Citigroup, Inc., No. 12 Civ. 283 (GBD), 2013 WL 789642, at *7 (S.D.N.Y. Mar. 4,

2013) (citing Tempo Shain Corp. v. Bertek, Inc., 120 F.3d 16, 20 (2d Cir. 1997)).

To review, CIETAC’s first two attempts to serve Qin by mail were unsuccessful.

(CIETAC Award 1-2). The third time CIETAC attempted to serve Qin, it mailed

notice to the North Alley Address, which is the address attributed to Qin on the

Supplemental Agreement. (Id. at 2). CIETAC also verified that the documents

were duly served on Qin on that attempt. (Id.).

      Mailing notice to Qin at this address was not unreasonable under the

circumstances. Although notice is a fact-specific inquiry, mailing notice to a

party’s known address is widely accepted as constitutionally sufficient.

Weigner v. City of New York, 852 F.2d 646, 650 (2d Cir. 1988) (“[T]he Supreme

Court has consistently held that mailed notice satisfies the requirements

of due process.”). At least one other Court in this Circuit has found that

mailing arbitration documents to an address listed in the underlying agreement

is sufficient notice under the New York Convention. See Tianjin Port Free Trade

Zone Int’l Trade Serv. Co., Ltd. v. Tiancheng Chempharm, Inc., No. 17 Civ. 4130

(JS) (AYS), 2018 WL 2436990, at *4 (E.D.N.Y. May 30, 2018). And the fact that

Qin contacted CIETAC to request additional copies of the arbitration

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documents (CIETAC Award 3), suggests that he was aware of the proceeding.

See CBF Industria de Gusa S/A v. Amci Holdings, Inc., 316 F. Supp. 3d 635,

653 (S.D.N.Y. 2018) (considering an arbitral respondent’s request for additional

time to answer an initial pleading “evidence that [the respondent] was provided

proper notice of the Arbitration”).

      To the extent that Qin challenges CIETAC’s conclusion that the third

attempt at service complied with the arbitration rules (see Resp. Br. 20-21), the

Court defers to the panel’s conclusion that “all documents and written notices

pertaining to this case have been effectively served by the Arbitration Court on

all the parties according to provisions of Article 8 of the Arbitration Rules”

(CIETAC Award 5). After all, it is for “arbitrators, not courts, to decide disputes

about the meaning and application of particular procedural preconditions for

the use of arbitration .… includ[ing] the satisfaction of prerequisites such as …

notice.” BG Grp., PLC v. Republic of Argentina, 572 U.S. 25, 34-35 (2014)

(internal quotation omitted). Qin has not met his heavy burden of proving

improper notice.

      Qin also has not shown that he was “otherwise unable to present his

case” to the arbitration panel. See New York Convention art. V(1)(b). Qin

repeatedly asserts that the panel “[did] not even entertain[]” his counsel’s

arguments about alleged fraud by Petitioners. (Resp. Br. 27-28; Resp. 56.1

¶¶ 23, 25-27, 31, 40). But he fails to back this assertion up with the “specific

facts” required to survive summary judgment. Anderson, 477 U.S. at 248. The

CIETAC Award explicitly acknowledges that Qin’s counsel made this fraud

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argument to the panel. (CIETAC Award 16-18). The panel found the argument

beyond the scope of the contract interpretation issues the parties agreed to

submit to arbitration. (Id. at 41-42). “That Respondent still does not agree

with the Arbitral [panel]’s decision does not mean he was deprived [of] a fair

opportunity to present his case.” BSH Hausgeräte GMBH v. Kamhi, 291 F.

Supp. 3d 437, 442 (S.D.N.Y. 2018).

      Qin also briefly notes that he was not permitted to present witness

testimony to the panel. (Resp. 56.1 ¶ 23). This procedural right is not always

required by due process: “[I]nability to produce one’s witnesses before an

arbitral tribunal is a risk inherent in an agreement to submit to arbitration. By

agreeing to submit disputes to arbitration, a party relinquishes his courtroom

rights — including that to subpoena witnesses — in favor of arbitration ‘with

all of its well known advantages and drawbacks.’” Parsons, 508 F.2d at 975

(quoting Wash.-Balt. Newspaper Guild v. Wash. Post Co., 442 F.2d 1234, 1238

(D.C. Cir. 1971)); see also Nat’l Football League Mgmt. Council v. Nat’l Football

League Players Ass’n, 820 F.3d 527, 545 (2d Cir. 2016) (“It is well settled that

procedural questions that arise during arbitration, such as which witnesses to

hear and which evidence to receive or exclude, are left to the sound discretion

of the arbitrator and should not be second-guessed by the courts.”).

      In sum, Qin has not shown that the arbitral process lacked fundamental

fairness. He was afforded reasonable notice and ample opportunities to present

his evidence and arguments. Qin’s invocation of Article V(1)(b) therefore fails.




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      3.     Qin’s Challenges to the Arbitral Procedure Fail

       Qin also opposes the confirmation of the CIETAC Award under Article

V(1)(d) of the Convention, which provides that a court may refuse to recognize

an arbitration award where “the composition of the arbitral authority or the

arbitral procedure was not in accordance with the agreement of the parties[.]”

New York Convention art. V(1)(d); see also Encyclopaedia Universalis, 403 F.3d

at 91 (noting that, while enforcement of arbitral awards under Article V(1)(d)

might “exalt[ ] form over substance ... the fact [remains] that the parties

explicitly settled on a form and the New York Convention requires that their

commitment be respected”).

      In this regard, Qin maintains that he was denied his contractual right to

appoint an arbitrator to the panel. The Capital Increase Agreements specify

that the arbitration panel “shall be composed of three arbitrators, one

arbitrator … appointed by either of the parties to the arbitration, and the chief

arbitrator … appointed by [CIETAC].” (Chuangtai Rongyuan Agreement art.

14.4; Huirongsheng Agreement art. 14.4; Huihengying Agreement art. 14.4).

They also provide that arbitration shall be conducted in accordance with

CIETAC’s rules. (Chuangtai Rongyuan Agreement art. 14.3; Huirongsheng

Agreement art. 14.3; Huihengying Agreement art. 14.3). Those rules grant the

parties on each side of the arbitration fifteen days to select an arbitrator after

receiving notice of the arbitration. (Resp. Br., Ex. A art. 27.1 (Dkt. #28-1)).

Failing that, the rules empower CIETAC to appoint an arbitrator in the

defaulting party’s stead. (Id.).


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      That is precisely what occurred in this case. After Petitioners

commenced the arbitration, Qin and the other Arbitral Respondents failed to

submit a consensus pick to CIETAC in a timely manner. (CIETAC Award 2).

Lacking the Respondents’ selection, CIETAC appointed the panel itself. (Id.). 7

Qin objected to this appointment in the arbitration, but CIETAC found that the

selection process complied with its rules. (Id. at 3).

      The Court is not persuaded that Qin was denied the process

contemplated by the Capital Increase Agreements. By not nominating an

arbitrator within the timeframe contemplated by CIETAC’s rules, Qin forfeited

his right to do so. See Major League Baseball Props., Inc. v. Corporacion de

Television y Microonda Rafa, S.A., No. 19 Civ. 8669 (MKV), 2020 WL 5518361,

at *3 (S.D.N.Y. Sept. 14, 2020) (enforcing arbitral award over similar objection);

Belize Bank Ltd. v. Belize, 191 F. Supp. 3d 26, 36-37 (D.D.C. 2016) (same).

The real issue here is not CIETAC’s compliance with its own procedures, but

rather Qin’s alleged failure to receive notice of the pending arbitration. After

all, if Qin did not know about the arbitration in July 2020, he could not have

timely selected an arbitrator. But as explained in section B.2, supra, the Court

will not overturn CIETAC’s finding that Qin was properly served in June 2020

and could have timely responded to the arbitration notice.

      Qin’s authorities in support of his argument are inapposite. In

Encyclopaedia Universalis, the Second Circuit found that a foreign arbitral


7     It is not clear from the record why Petitioners also did not invoke their right to appoint
      an arbitrator. What is clear, however, is that CIETAC appointed all three of the
      panelists. (Resp. 56.1 ¶ 18).

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award was not issued in accordance with the process agreed upon by the

parties. See 403 F.3d at 91. The arbitration agreement in that case provided

for a panel of two party-appointed arbitrators and allowed the arbitral tribunal

to appoint a third arbitrator only if the first two disagreed on a substantive

question and could not agree on the identity of a tiebreaking arbitrator. Id. at

90-91. Despite these rules, the tribunal appointed a third arbitrator without

first giving the two party-appointed arbitrators an opportunity to select their

preferred colleague. Id. at 91. This premature nomination “overlook[ed] the

agreed-upon arbitral procedures” in violation of Article V(1)(d). Id. at 91-92.

Unsurprisingly, Qin emphasizes Encyclopaedia Universalis’s admonition that

the manner of appointing an arbitral panel is “more than a trivial matter of

form.” (Resp. Br. 22). But there was no similar skirting of procedure here;

CIETAC allowed the Arbitral Respondents the full fifteen days provided by its

rules before appointing the arbitral panel. (CIETAC Award 2).

      CEEG (Shanghai) Solar Science & Technology Co., Ltd. v. Lumos LLC, 829

F.3d 1201 (10th Cir. 2016), likewise does not compel a ruling in Qin’s favor. In

that case, which also involved an arbitration conducted by CIETAC in China, a

Colorado-based arbitral respondent received notice of an arbitration in

Chinese. Id. at 1204. By the time the respondent translated the notice to

English, the deadline to nominate an arbitrator had passed. Id. at 1204-05.

The Tenth Circuit refused to confirm the arbitral award, in part because the

Chinese-language mailing directly contravened the parties’ explicit agreement

that any arbitration stemming from their contract would be conducted in

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English. Id. at 1203, 1207. CEEG is a clear example of disregard for the rules

the parties agreed would govern their dispute. Here, as explained previously,

CIETAC followed its rules governing the appointment of arbitrators. After

reviewing Qin’s assertions, the Court finds that the arbitral panel was properly

constituted.

      Qin raises another objection to the arbitral process, this time saying that

Petitioners failed to comply with their contractual obligation to attempt to settle

their dispute before resorting to arbitration. (Resp. Br. 17). Unlike the prior

objection, however, Qin did not raise this complaint to the arbitration panel.

By failing to make this argument in arbitration, Qin forfeited his right to make

it in this confirmation proceeding. See ConnTech Dev’t Co. v. Univ. of Conn.

Educ. Props., Inc., 102 F.3d 677, 685 (2d Cir. 1996) (“[B]y waiting … to raise

this argument before the district court, [respondent] waived the right to object

on the basis of [petitioner’s] alleged violation of a condition precedent [to

arbitration].”).

      Qin has not shown that “the composition of the arbitral authority or the

arbitral procedure was not in accordance with the agreement of the parties,”

and as such the Court may not disregard the CIETAC Award under New York

Convention Article V(1)(d).

      4.       Public Policy Considerations Support Confirming the Award

      Finally, Qin points to Article V(2)(b) of the Convention, which permits

courts to decline to confirm an award if “recognition or enforcement of the

award would be contrary to the public policy” of the United States. New York


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Convention art. V(2)(b). Given the New York Convention’s preference for

enforcement and concerns that foreign courts will routinely refuse to confirm

American arbitral awards on policy grounds, this defense is construed very

narrowly. See Parsons, 508 F.2d at 973-74. It applies “only where

enforcement would violate our most basic notions of morality and justice.”

Europcar Italia, S.p.A, 156 F.3d at 315 (internal citations and quotation marks

omitted). Moreover, the public policy at stake must be “well defined and

dominant, and is to be ascertained by reference to the laws and legal

precedents and not from general considerations of supposed public interests.”

Yukos Capital S.A.R.L. v. OAO Samaraneftegaz, 963 F. Supp. 2d 289, 299

(S.D.N.Y. 2013) (quoting United Paperworkers Int’l Union, AFL-CIO v. Misco, Inc.,

484 U.S. 29, 30 (1987)); see also Parsons, 508 F.2d at 974 (“To read the public

policy defense as a parochial device protective of national political interests

would seriously undermine the Convention’s utility.”).

      Qin advances two theories of why the CIETAC Award violates U.S. public

policy, neither of which succeeds. He first asserts that confirming the CIETAC

Award would assist Petitioners’ wrongful scheme to misappropriate Chengdu

Run Yun’s assets and claims that it is “against public policy to use the courts

as a means to perpetrate fraud.” (Resp. Br. 27). But Qin does not identify any

“well-defined” basis in American law to support this broad articulation of

policy. See Yukos Capital S.A.R.L., 963 F. Supp. at 299. Because the party

opposing confirmation of a foreign arbitral award bears the burden of proof,

Telenor Mobile Commc’ns AS, 584 F.3d at 405, this total lack of authority is

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fatal to Qin’s claim, see DiRussa v. Dean Witter Reynolds Inc., 121 F.3d 818,

825 (2d Cir. 1997) (declining to find public policy because sources offered by

respondent were “far from clear”); see also United Paperworkers Int’l Union, 484

U.S. at 44 (reversing finding that arbitration violated public policy because

lower court “made no attempt to review existing laws and legal precedents in

order to demonstrate that they establish a ‘well-defined and dominant’ policy”).

       Qin’s second public policy theory is better presented. He argues that the

award cannot be enforced because it was entered by a biased arbitration panel.

(Resp. Br. 28-30). As support, he offers a United Nations guide interpreting the

New York Convention as the source for this policy interest. (See id. at 28

(citing U.N. COMM’N ON INT’L TRADE L., GUIDE ON CONVENTION ON THE RECOGNITION

AND   ENFORCEMENT OF FOREIGN ARBITRAL AWARDS, at 197, U.N. Sales No. E.16.V.7

(2016)). This guide alone likely does not define U.S. public policy; it was

published by an international organization and is not codified in an American

statute or caselaw. However, the Second Circuit has acknowledged that an

arbitral award obtained by fraud “might violate public policy and therefore

preclude enforcement.” Europcar Italia, S.p.A., 156 F.3d at 315. Thus, Qin has

arguably identified a relevant policy interest.

       Qin’s argument fails for a different reason: he has failed to identify

specific facts that would make arbitrator bias a genuine issue for trial. He

asserts that Xiuming Tao, an original member of the CIETAC panel, is a

managing partner at a law firm that employs attorneys who also serve on the

boards of Petitioners’ parent companies, and that this affiliation predisposes

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Tao to resolve the arbitration in Petitioners’ favor. (Resp. Br. 29). But Qin also

acknowledges that Tao resigned from the arbitration panel in September

2020 — only a month after his appointment — and did not participate in

hearing or deciding the case. (Resp. 56.1 ¶ 20). Qin alleges that Tao

nonetheless “may have significantly impacted the opinions of the other

arbitrators.” (Resp. Br. 29). While a biased arbitrator is a legitimate cause for

concern, this “conclusory allegation” is not enough to create a genuine issue of

disputed fact. Fujitsu Ltd. v. Fed. Express Corp., 247 F.3d 423, 428 (2d Cir.

2001); see also Pompano-Windy City Partners, Ltd. v. Bear Stearns & Co., Inc.,

794 F. Supp. 1265, 1278-79 (S.D.N.Y. 1992) (“[C]onclusory allegations of bias[ ]

and dissatisfaction with the result of arbitration are not sufficient bases for

vacating an award.”); Beljakovic v. Melohn Props., Inc., No. 04 Civ. 3694 (JMF),

2012 WL 5429438, at *3 (S.D.N.Y. Nov. 7, 2012) (“To the extent that Petitioner

alleges that [the arbitrator] was biased against him, his claim fails, as he offers

no evidence of [the arbitrator’s] bias, partiality, or corruption beyond

conclusory statements and speculation.”), aff’d, 542 F. App’x 72 (2d Cir. 2013)

(summary order). Without a more concrete allegation of how bias infected the

proceedings, a jury could not find that the arbitral award was obtained by

fraud.

         This is not one of the rare circumstances in which enforcing a foreign

arbitral award “would violate our most basic notions of morality and

justice.” Europcar Italia, S.p.A, 156 F.3d at 315. Consequently, Qin’s

invocation of Article V(2)(b) of the New York Convention fails.

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                                   CONCLUSION

      For the foregoing reasons, Petitioners’ motion for summary judgment on

their petition to confirm the foreign arbitration award is GRANTED. The Clerk

of Court is directed to terminate the motion at docket entry 15.

      Petitioners are hereby directed to submit a proposed judgment,

consistent with the CIETAC Award, within fourteen days. That judgment shall

calculate all amounts in U.S. dollars, converted from Renminbi as of the date of

submission. See Comm’ns Imp. Exp. S.A. v. Republic of the Congo, No. 14 Misc.

187 (AJN), 2020 WL 4040753, at *2 (S.D.N.Y. July 17, 2020) (noting that,

under New York law, the “judgment ... shall be converted into currency of the

United States at the rate of exchange prevailing on the date of entry of the

judgment or decree” (citing N.Y. Jud. Law § 27(b)).

      SO ORDERED.

Dated:        September 26, 2022
              New York, New York              __________________________________
                                                   KATHERINE POLK FAILLA
                                                  United States District Judge




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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x
 HUZHOU CHUANGTAI RONGYUAN                                          :
 INVESTMENT MANAGEMENT                                              :
 PARTNERSHIP, HUZHOU HUIHENGYING                                    :
 EQUITY INVESTMENT PARTNERSHIP, and                                 :
 HUZHOU HUIRONGSHENG EQUITY                                         :
 INVESTMENT PARTNERSHIP,                                            :
                                                                    :   21 Civ. 9221 (KPF)
                                     Petitioners,                   :
                                                                    :     JUDGMENT
                            v.                                      :
                                                                    :
 HUI QIN,                                                           :
                                                                    :
                                     Respondent.
--------------------------------------------------------------------x

        It is HEREBY ORDERED, ADJUDGED, AND DECREED: That for the reasons stated

in the Court’s Opinion and Order dated September 26, 2022 (Dkt. #44), the Award of the

CIETAC Tribunal dated April 22, 2021 (“CIETAC Award”) (Dkt. #7-2) is CONFIRMED; and

        JUDGMENT IS HEREBY ENTERED on the CIETAC Award in favor of Petitioners

Huzhou Chuangtai Rongyuan Investment Management Partnership (“Chuangtai Rongyuan”),

Huzhou Huihengying Equity Investment Partnership (“Huihengying”), and Huzhou Huirongsheng

Equity Investment Partnership (“Huirongsheng”) and against Respondent Hui Qin (“Qin”) as

follows:

    1. For money damages in favor of Petitioners in the following aggregate amounts
       (representing the totals granted in the Award as calculated below):

                 •    Judgment for Petitioner Chuangtai Rongyuan:
                      $148,648,643.71, plus ongoing contractual daily interest of $29,311.88.

                 •    Judgment for Petitioner Huihengying:
                      $147,428,491.49, plus ongoing contractual daily interest of $29,348.48.

                 •    Judgment for Petitioner Huirongsheng:
                      $147,382,728.28, plus ongoing contractual daily interest of $29,350.67.


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a. Equity acquisition prices to the Petitioners to acquire the 3.12% equity held by each of
   the Petitioners in Chengdu Run Yun Culture Communications Co., Ltd. (“Chengdu
   Run Yun”) (calculated using the RMB ¥500,000,000.00 acquisition prices paid by each
   Petitioner × (1 + 15% × n/360) - RMB ¥10,000,000.00, n = the number of the days
   from the investment dates for each Petitioner – May 8, June 26 and June 28, 2017,
   respectively – to the date of payment), the amounts of which are as follows as of
   October 5, 2022:

              i.   To Petitioner Chuangtai Rongyuan: $126,739,038.79 (representing
                   RMB ¥901,875,000.00 converted into U.S. dollars at the 7.1160
                   exchange rate);

             ii.   To Petitioner Huihengying: $125,304,478.17 (representing RMB
                   ¥891,666,666.67 converted into U.S. dollars at the 7.1160 exchange
                   rate); and

            iii.   To Petitioner Huirongsheng: $125,245,924.68 (representing RMB
                   ¥891,250,000.00 converted into U.S. dollars at the 7.1160 exchange
                   rate).

b. $21,079,258.01 (representing RMB ¥150,000,000 converted into U.S. dollars at the
   7.1160 exchange rate) in damages to each of the Petitioners for delayed payment of the
   equity acquisition prices;

c. The return of security deposits to each of the Petitioners (in the amounts of RMB
   ¥1,000,000.00, RMB ¥2,041,666.67, and RMB ¥2,104,166.67, respectively), plus 9%
   interest until such security deposits are paid in full (calculated from the payment dates
   – May 9, June 28, and July 1, 2017, respectively). As of October 5, 2022, the amounts
   of security deposits, plus ongoing interest of 9% per annum, are as follows:

              i.   To Petitioner Chuangtai Rongyuan: $209,949.41 (representing RMB
                   ¥1,494,000.00 converted into U.S. dollars at the 7.1160 exchange rate);

             ii.   To Petitioner Huihengying: $425,060.31 (representing RMB
                   ¥3,024,729.17 converted into U.S. dollars at the 7.1160 exchange rate);
                   and

            iii.   To Petitioner Huirongsheng: $437,850.59 (representing RMB
                   ¥3,115,744.80 converted into U.S. dollars at the 7.1160 exchange rate).

d. Reimbursement of expenses Petitioners incurred in the arbitration proceeding, in the
   amount of:

              i.   To Petitioner Chuangtai Rongyuan: $43,797.92 (representing RMB
                   ¥311,666 converted into U.S. dollars at the 7.1160 exchange rate);



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                    ii.   To Petitioner Huihengying: $43,095.42 (representing RMB ¥306,667
                          converted into U.S. dollars at the 7.1160 exchange rate); and

                   iii.   To Petitioner Huirongsheng: $43,095.42 (representing RMB ¥306,667
                          converted into U.S. dollars at the 7.1160 exchange rate).

       e. Reimbursement of the arbitration fees paid to the Arbitration Commission, in the
          amount of $1,729,798.74 (representing RMB ¥12,309,247.80 converted into U.S.
          dollars at the 7.1160 exchange rate), split equally among the Petitioners.

   2. For specific performance, ordering Qin to transfer the 5% of equity in Chengdu Run Yun
      held by Qin and Shenzhen SMI Shengdian Cultural and Media Group Co., Ltd. to the
      Petitioners, to be evenly distributed among the Petitioners.

This judgment shall accrue post-judgment interest as mandated in 28 U.S.C. § 1961.


Dated: October 11, 2022
       New York, New York                  ____________________________________
                                                   KATHERINE POLK FAILLA
                                                   United Stated District Judge




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                Exhibit E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HUZHOU CHUANGTAI RONGYUAN INVESTMENT
 MANAGEMENT PARTNERSHIP; HUZHOU
 HUIHENGYING EQUITY INVESTMENT
 PARTNERSHIP; and HUZHOU HUIRONGSHENG                      21 Civ. 9221 (KPF)
 EQUITY INVESTMENT PARTNERSHIP,
                                                        OPINION AND ORDER
                           Petitioners,

                         -v.-

 HUI QIN,

                           Respondent.

KATHERINE POLK FAILLA, District Judge:

      Petitioners brought this action to enforce a multi-hundred-million-dollar

judgment awarded to them in a Chinese arbitration. The Court previously

confirmed the Chinese arbitral award and granted summary judgment to

Petitioners by Opinion and Order dated September 26, 2022. Respondent now

asks the Court to reconsider a portion of that decision and vacate its prior

judgment. For the reasons that follow, the Court corrects a factual mistake in

its original Opinion that was occasioned by an unfortunate redaction in the

parties’ summary judgment submissions, but declines to reconsider its original

legal conclusion.
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                                    BACKGROUND 1

A.    Factual Background

      The Court assumes familiarity with the facts of this case, which facts are

recounted at length in its summary judgment Opinion. Huzhou Chuangtai

Rongyuan Inv. Mgmt. P’ship v. Qin, No. 21 Civ. 9221 (KPF), 2022 WL 4485277

(S.D.N.Y. Sept. 26, 2022). Only the facts relevant to Respondent’s notice of the

arbitration — the subject of the instant motion — are recounted here. The

facts that follow supplement, and in one instance correct, the Court’s initial

telling of the facts.

      CIETAC, the Chinese arbitral authority that issued the underlying award

for Petitioners, thrice endeavored to notify Respondent of the arbitration by

mail. On May 26, 2020, it mailed a notice of the arbitration to Respondent at

18B, 14F, Building 1, Beili, Yijingyuan, Chaoyang District, Beijing (the

“Building Address”). (See Lee Decl., Ex. 1). The Supplemental Agreement



1     The Court adopts the naming and citation conventions defined in its September 26,
      2022 Opinion and Order granting summary judgment to Petitioners. Huzhou Chuangtai
      Rongyuan Inv. Mgmt. P’ship v. Qin, No. 21 Civ. 9221 (KPF), 2022 WL 4485277, at *1 n.1
      (S.D.N.Y. Sept. 26, 2022). The Court draws facts from the parties’ submissions in
      connection with both the motion for summary judgment (Dkt. #15) and the instant
      motion, including the Declaration of Hui Qin and its exhibits (Dkt. #33 (“Qin Decl.”));
      the Declarations of Carol Lee and their exhibits (Dkt. #37 (“Lee Decl.”); Dkt. #81 (“Lee
      Recon. Decl.”)); the Declaration of Xingtong Zhang and its exhibits (Dkt. #68 (“Zhang
      Recon. Decl.”)), including the unredacted English translation of the Supplemental
      Agreement (Dkt. #68-5 (“Supplemental Agreement”)) and the unredacted English
      version of the underlying arbitral award (Dkt. #68-3 (“CIETAC Award”)); and the
      Declaration of Yun Peng and its exhibits (Dkt. #69 (“Peng Recon. Decl.”)). Any
      additional facts sourced from the declarations and their accompanying exhibits are
      cited using the convention “[Name] Decl., Ex. [ ].”
      The Court refers to Respondent’s brief in support of his motion to vacate the summary
      judgment Opinion and resulting judgment as “Resp. Recon. Br.” (Dkt. #67); to
      Petitioners’ brief in opposition as “Pet. Recon. Opp.” (Dkt. #82); and to Respondent’s
      reply as “Resp. Recon. Reply” (Dkt. #88).

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attributes this address to Respondent and specifies that notices to that address

“shall be deemed as effectively served[.]” (Supplemental Agreement 1; see also

id. § 12.2). In addition to being listed on the Supplemental Agreement, the

Building Address is Respondent’s “registered address” with the Chinese

government (see Pet. Recon. Opp. 6; Resp. Recon. Reply 8 & n.8), though

Respondent attests that “the property was sold” and he has not lived there

since 2003 (Qin Decl. ¶ 27). 2 CIETAC’s mailing to Respondent at the Building

Address was “returned by postal services.” (CIETAC Award 2).

      CIETAC notified Petitioners that the mailing was unsuccessful and

prompted them “to reasonably inquire about the valid correspondence

addresses” of Respondent and two other arbitral respondents (SMI

International and Chengdu Run Yun), whose initial mailings were also

returned. (CIETAC Award 2). 3 Petitioners informed CIETAC that Respondent

could be served at “9 Xiangjun North Alley, Hujialou Street, Chaoyang District,

Beijing” (the “North Alley Address”) in care of Yun Peng, or at “Qin Hui, …,

Rooms 2015/2016, Floors 18-19, Tower B, No. 2 Jiangtai Road, Chaoyang

District, Beijing” (the “Jiangtai Road Address”). (Id.). Papers in a separate

2019 Chinese civil lawsuit involving SMI International describe the North Alley



2     Petitioners give the Court good reason to question the veracity of Respondent’s
      assertions in connection with this motion, including the fact that numerous
      contemporaneous court documents in other actions attribute the Building Address to
      Respondent. (See Pet. Recon. Opp. 6). Respondent does not contest that the Building
      Address remains his “registered address” to this day, nor does he specify to whom he
      sold it or whether he controls that entity. (See Resp. Recon. Reply 8-9; Qin Decl. ¶ 27).
3     CIETAC’s first attempt to serve the remaining arbitral respondent, SMI Shengdian, was
      successful. (CIETAC Award 2).

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Address as SMI International’s office address as well as Respondent’s

residential and mailing address. (See Qin Decl., Ex. 8). 4

      In or about June or July 2020, CIETAC re-mailed the arbitration notices

to the new addresses provided by Petitioners. (CIETAC Award 2). The

documents sent to Respondent at the Jiangtai Road Address were returned by

the postal service, but CIETAC’s mailing to Respondent at the North Alley

Address was delivered successfully. (Id.; see also Peng Decl., Ex. C (delivery

receipt for service at the North Alley Address)). The arbitral papers were also

delivered successfully to SMI International and Chengdu Run Yun at the North

Alley Address. (CIETAC Award 2). In July 2020, CIETAC gave all parties an

opportunity to confirm their addresses and to object to service. (Id.; see also

Lee Decl., Ex. 1). CIETAC ultimately determined that “all documents and

written notices pertaining to this case have been effectively served by the

Arbitration Court on all parties according to provisions of Article 8 of the

Arbitration Rules.” (CIETAC Award 5).

      CIETAC constituted a panel of three arbitrators in August 2020 and the

arbitration proceedings commenced. (CIETAC Award 2-3). On November 11,

2020, the day before the case was set to be heard, CIETAC received from




4     Respondent objects to the Court’s consideration of the 2019 suit because Petitioners did
      not provide an English translation of the judgment in that action. (Resp. Recon.
      Reply 5). But Respondent’s own submissions to this Court provide the same
      information. Respondent attached to his declaration a copy of objections he raised to
      the arbitral panel, in which he acknowledges that the 2019 case attributes the North
      Alley Address to SMI International (but contests the accuracy of those papers). (Qin
      Decl., Ex. H). Even disregarding the Chinese judgment itself, Petitioners’ contention is
      supported by the record.

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Respondent and SMI Shengdian a request to re-send them the arbitration

documents, which CIETAC promptly did as a courtesy (and not as a renewed

attempt at service). (Id.). CIETAC also adjourned the hearing to December 22,

2020. (Id.). With the assistance of counsel, Respondent participated in the

arbitration. Qin, 2022 WL 4485277, at *3. Respondent’s counsel in the

arbitration also represented the other Arbitral Respondents. (Pet. Recon.

Opp. 7). In April 2021, CIETAC issued a written decision largely in favor of

Petitioners. See Qin, 2022 WL 4485277, at *3 (summarizing the arbitral

decision).

B.    Procedural Background

      The Court granted summary judgment for Petitioners on September 26,

2022. See generally Qin, 2022 WL 4485277. On October 11, 2022, the Court

entered final judgment in favor of Petitioners. (Dkt. #46). Contentious post-

judgment discovery followed. The Court does not exhaustively recount

Petitioners’ collection efforts here, but notes that in the months following the

Court’s summary judgment decision, Respondent has repeatedly resisted

Petitioners’ discovery requests and has produced little responsive information.

Respondent’s post-judgment conduct is the subject of a separate motion for

sanctions. (See Dkt. #104).

      The instant motion was briefed simultaneously with Petitioners’ post-

judgment discovery efforts. Respondent filed his motion to vacate the

judgment and accompanying papers on November 8, 2022. (Dkt. #66-69).

Petitioners filed their opposition and accompanying papers on November 28,


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2022. (Dkt. #81-82). Respondent filed his reply on December 7, 2022. (Dkt.

#88). The Court now resolves that fully briefed motion.

                                  DISCUSSION

          Respondent Is Not Entitled to Relief Under Rule 60(b)(1)

A.    Applicable Law

      Federal Rule of Civil Procedure 60(b) permits “a party to seek relief from

a final judgment, and request reopening of his case, under a limited set of

circumstances[.]” Gonzalez v. Crosby, 545 U.S. 524, 528 (2005). “Rule

60(b) strikes a balance between serving the ends of justice and preserving the

finality of judgments.” Tapper v. Hearn, 833 F.3d 166, 170 (2d Cir. 2016)

(quoting Nemaizer v. Baker, 793 F.2d 58, 61 (2d Cir. 1986)). Motions for relief

from a judgment under Rule 60 are “committed to the sound discretion of the

district court,” Stevens v. Miller, 676 F.3d 62, 67 (2d Cir. 2012) (internal

citation and quotation marks omitted), and are generally granted only upon a

showing of “exceptional circumstances,” Ruotolo v. City of New York, 518 F.3d

184, 191 (2d Cir. 2008); see also Nemaizer, 793 F.2d at 61 (explaining that

although Rule 60(b) “should be broadly construed to do substantial justice, ...

final judgments should not be lightly reopened” (citations omitted)).

      Under Rule 60(b)(1), a party may seek relief from a judgment based on

“mistake, inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b)(1).

The mistake provision “affords a party relief from a material mistake that

changed the outcome of the court’s judgment.” In re Bulk Oil (USA), Inc., No. 93

Civ. 4492 (PKL), 2007 WL 1121739, at *10 (S.D.N.Y. Apr. 11, 2007) (quoting


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Matura v. United States, 189 F.R.D. 86, 89 (S.D.N.Y. 1999))). It permits the

Court to correct its own errors of both fact and law. Kemp v. United States, 142

S. Ct. 1856, 1862 (2022); see also In re 310 Assocs., 346 F.3d 31, 34-35 (2d

Cir. 2003). It is not, however, “an additional opportunity to make arguments or

attempt to win a point already ‘carefully analyzed and justifiably disposed.’” In

re Bulk Oil, 2007 WL 1121739, at *10 (quoting Matura, 189 F.R.D. at 90). A

Rule 60(b)(1) motion must be filed within a year after entry of the challenged

judgment. Fed. R. Civ. P. 60(c)(1).

B.    Respondent Was Afforded Proper Notice of the Arbitration

      Although Respondent originally opposed confirmation of the CIETAC

Award on several grounds, he seeks reconsideration of only one: whether he

received proper notice of the arbitration. (Resp. Recon. Br. 13-20). But, as

discussed in the remainder of this section, in fixating on a minor, non-

dispositive factual error in the Court’s prior Opinion, Respondent misses the

forest for the trees.

      The New York Convention provides for nonenforcement of a foreign

arbitral award where “[t]he party against whom the award is invoked was not

given proper notice of the appointment of the arbitrator or of the arbitration

proceedings or was otherwise unable to present his case.” New York

Convention, Art. V(1)(b). This defense “essentially sanctions the application of

the forum state’s standards of due process.” Iran Aircraft Indus. v. Avco Corp.,

980 F.2d 141, 145 (2d Cir. 1992) (quoting Parsons & Whittemore Overseas Co.,

Inc. v. Societe Generale de L’Industrie du Papier (RAKTA), 508 F.2d 969, 975-76


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(2d Cir. 1974)). “Under American standards of due process, a party is entitled

to ‘notice reasonably calculated, under all the circumstances, to apprise

interested parties of the pendency of the action and afford them an opportunity

to present their objections.’” Pagaduan v. Carnival Corp., 830 F. App’x 61, 62

(2d Cir. 2020) (summary order) (quoting Jones v. Flowers, 547 U.S. 220, 226

(2006)); see also Iran Aircraft Indus., 980 F.2d at 146 (“[T]he fundamental

requirement of due process is the opportunity to be heard at a meaningful time

and in a meaningful manner.” (quoting Mathews v. Eldridge, 424 U.S. 319, 333

(1976)). In evaluating whether notice is reasonably given, the proper inquiry is

whether the party giving notice “acted reasonably in selecting means likely to

inform … not whether [the subject] actually received notice.” Weigner v. City of

New York, 852 F.2d 646, 649 (2d Cir. 1988). Because the due process inquiry

requires consideration of the totality of the circumstances, it is necessarily a

fact-specific determination. Clermont v. Intra-Op Monitoring Servs., LLC, No. 16

Civ. 6037 (DAB), 2017 WL 2239564, at *6 (S.D.N.Y. Mar. 29, 2017) (citing

Flowers, 547 U.S. at 234).

      The Article V(1)(b) inquiry is not to be confused with other notice and

service standards. A party may have sufficient notice to satisfy due process —

and by extension, Article V(1)(b) — even if it was not served with process to the

satisfaction of the Federal Rules of Civil Procedure. See Karaha Bodas Co.,

L.L.C. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, 364 F.3d

274, 299 (5th Cir. 2004) (“The right to due process does not include the

complete set of procedural rights guaranteed by the Federal Rules of Civil

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Procedure.” (internal quotation omitted)). Similarly, a party may have sufficient

notice to satisfy Article V(1)(b) even if that notice is not sufficient under the

rules governing the arbitration itself. P.T. Reasuransi Umum Indonesia v.

Evanston Ins. Co., No. 92 Civ. 4263 (MGC), 1992 WL 400733, at *3 (S.D.N.Y.

Dec. 23, 1992) (concluding that notice comported with due process even

though respondent “was not given proper notice of the commencement of the

arbitration proceeding or the appointment of the arbitrators as is required by

[the arbitration association’s] rules”). Because the due process inquiry is

“limited to determining whether the procedure used was fundamentally unfair,”

BSH Hausgeräte, GMBH v. Kamhi, 282 F. Supp. 3d 668, 673 (S.D.N.Y. 2017)

(quoting Abu Dhabi Inv. Auth. v. Citigroup, Inc., No. 12 Civ. 283 (GBD), 2013 WL

789642, at *7 (S.D.N.Y. Mar. 4, 2013), aff’d, 557 F. App’x 66 (2d Cir. 2014)

(summary order)), it often demands less than either of those two alternative

measures of notice.

      The Court previously determined that “[t]he procedures CIETAC used to

serve [Respondent] were not fundamentally unfair such that they violated due

process.” Qin, 2022 WL 4485277, at *8 (internal quotation marks omitted). In

so holding, it found CIETAC’s three attempts to mail service to Respondent to

be constitutionally adequate, particularly because the third mailing was sent

“to the North Alley Address, which is the address attributed to [Respondent] on

the Supplemental Agreement.” Id. The Court explained that “mailing

arbitration documents to an address listed in the underlying agreement is

sufficient notice under the New York Convention.” Id. The Court found

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additional support for Respondent’s awareness of the arbitration in “the fact

that [Respondent] contacted CIETAC to request additional copies of the

arbitration documents[.]” Id.

      Respondent believes the Court’s initial determination to be in error

because, he believes, it was premised on the Court’s mistaken understanding

that the Supplemental Agreement attributed the North Alley Address to

Respondent, when in fact it lists the Building Address. (Resp. Recon. Br. 3-4,

11-12). He further argues that whether service to the Building Address is

constitutionally sufficient is a materially disputed fact that defeats summary

judgment because both Respondent and Mr. Yun Peng, a Chengdu Run Yun

employee to whom the mailing to the North Alley Address was addressed, both

attest that they did not actually receive the mailing. (Id. at 14-17 (citing Peng

Recon. Decl., Ex. A ¶ 5; Qin Decl. ¶ 29)). In response, Petitioners argue that

CIETAC’s initial mailing to the Building Address alone is constitutionally

sufficient notice (Pet. Recon. Opp. 17-22), and that in any event, Respondent

had actual notice of the arbitration because he appeared and participated in

the proceeding and because he shared counsel with the other Arbitral

Respondents (including his wholly-owned company SMI Shengdian), which

were served successfully (id. at 22-25). Ultimately, Petitioners’ legal analysis is

the correct one.

      The Court takes this opportunity to clarify and correct a factual error in

its original Opinion. The Supplemental Agreement attributes to Respondent

the Building Address, not the North Alley Address. (See Supplemental

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Agreement 1). The Court does not appreciate that this critical fact was

redacted in Petitioners’ original submissions.

      That mislabeling, however, does not change the Court’s conclusion that

Respondent was afforded proper notice of the arbitration. Because the

Supplemental Agreement states that service on Respondent at the Building

Address is adequate (Supplemental Agreement § 12.2), and because

Respondent never changed or updated his service address for purposes of that

agreement, Petitioners’ argument that CIETAC’s initial mailing of notice to that

address alone satisfies due process is colorable. See Yukos Cap. S.A.R.L. v.

OAO Samaraneftegaz, 963 F. Supp. 2d 289, 297-98 (S.D.N.Y. 2013), aff’d, 592

F. App’x 8 (2d Cir. 2014) (summary order) (noting that it was arbitral

respondent’s responsibility to inform the arbitral body of any changes to its

preferred method of service). But while mailing notice to an address listed in

the parties’ underlying agreement typically satisfies due process, once it

became clear that the mailing was not delivered, CIETAC had an obligation to

“tak[e] additional reasonable steps to notify [Respondent] … if practicable to do

so,” such as sending the mailing again by a different delivery method. Flowers,

547 U.S. at 234-35; see also CKR Law LLP v. Anderson Invs. Int’l, LLC, 525 F.

Supp. 3d 518, 524-25 (S.D.N.Y. 2021) (deeming proposal to mail service

constitutionally insufficient because first attempt to serve documents at same

address was unsuccessful).

      In line with this obligation, CIETAC took additional, reasonable steps

“with due regard for the practicalities and peculiarities of the case[.]” Mullane

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v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314-15 (1950). After its first

mailing to Respondent was returned, it sent the arbitration notices to

Respondent at two alternative addresses (the Jiangtai Road Address and the

North Alley Address). (CIETAC Award 2). Although its mailing to the Jiangtai

Road Address was returned as undeliverable, CIETAC verified that the mailing

to the North Alley Address was successful (id.), and a delivery receipt for that

successful mailing appears in the record (Peng Decl., Ex. C).

      Under the circumstances, mailing the notice papers to the Building

Address, the Jiangtai Road Address, and the North Alley Address was

“reasonably calculated” to apprise Respondent of the proceedings. See

Pagaduan, 830 F. App’x at 62. Petitioners (and CIETAC) had good reason to

believe that Respondent could be reached at the North Alley address; They

understood it be the address attributed to him in a contemporaneous Chinese

civil action, and two companies that he controls — represented by his

counsel — accepted service there without objection. See Tianjin Port Free Trade

Zone Int’l Trade Serv. Co., Ltd. v. Tiancheng Chempharm, Inc., No. 17 Civ. 4130

(JS) (AYS), 2018 WL 2436990, at *4 (E.D.N.Y. May 30, 2018), aff’d, 771 F.

App’x 36 (2d Cir. 2019) (summary order) (finding notice proper under the New

York Convention where a portion of CIETAC’s first mailing to an address listed

in the parties’ underlying agreement was returned but CIETAC verified delivery

of additional mailings to two alternative addresses); 5 Yukos Cap. S.A.R.L., 963


5     Respondent distinguishes Tianjin Port on the grounds that CIETAC’s successful
      alternative mailing in that case was to an address registered to the respondent with the
      New York Secretary of State. (Resp. Recon. Br. 16 n.13). The Court does not deny this

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F. Supp. 2d at 297 (finding, based on respondent’s unresponsiveness, that it

was reasonable for arbitrator to address subsequent notices to respondent’s

affiliate). Respondent’s Article V(1)(b) challenge fails not because any one

attempted mailing is constitutionally sufficient, but because CIETAC’s mailing

to the address listed in the parties’ contract, followed by its mailings to two

additional, known addresses meets the relatively low burden imposed by due

process.

      Adding further support to the Court’s conclusion, these notice efforts

undeniably resulted in Respondent having an opportunity to appear and

present his objections both to service and to the merits of the arbitration.

Respondent contacted CIETAC the night before the arbitration was scheduled

to occur to request re-mailing of the arbitration documents and an

adjournment of the hearing (CIETAC Award 3), evincing that he was actually


      factual difference. But while court or arbitral rules may require service to such a
      registered address, the Constitution is not so exacting. Tianjin Port is instructive
      because like the present case, it found CIETAC’s verified mailing to alternate, known
      addresses of the respondent to be constitutionally sufficient:
             When some of the materials were returned, CIETAC sent the
             materials to two other addresses — a Great Neck, New York,
             address that [respondent] has on file with the New York
             Department of State as the address to which New York will mail
             process, and a Bayside, New York, address. The documents sent
             to the latter two addresses were not returned, and CIETAC
             determined that the documents were duly served on [respondent].
             [The respondent] nevertheless contends that it never received
             notice of the arbitration and submits a declaration to that effect.
             But notice mailed directly to an entity is sufficient to afford it due
             process, and we agree with the District Court that [respondent]’s
             declaration does not satisfy the “heavy” burden imposed on a party
             asserting a defense under the New York Convention.
      Tianjin Port, 771 F. App’x at 37 (quoting Encyclopaedia Universalis S.A. v. Encyclopaedia
      Britannica, Inc., 403 F.3d 85, 90 (2d Cir. 2005)). Tianjin Port thus turned on the fact
      that service to the alternative addresses was calculated to provide notice — not the fact
      that one of the alternative addresses was registered with the government.

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aware of the arbitration, see CBF Industria de Gusa S/A v. Amci Holdings, Inc.,

316 F. Supp. 3d 635, 653 (S.D.N.Y. 2018) (considering an arbitral respondent’s

request for additional time to answer an initial pleading “evidence that [the

respondent] was provided proper notice of the [a]rbitration”); accord Anhui

Provincial Imp. & Exp. Corp. v. Hart Enters. Int’l, Inc., No. 96 Civ. 128 (LAK),

1996 WL 229872, at *3 (S.D.N.Y. May 7, 1996). The arbitral body assented

and adjourned the hearing for more than a month. (CIETAC Award 3). At the

rescheduled hearing, Respondent had an ample opportunity to participate and

present arguments with the assistance of counsel. See Qin, 2022 WL 4485277,

at *8-9.

      Respondent’s remaining counterarguments are unavailing. Even

accepting Respondent’s assertion that his receipt of the mailing at the North

Alley Address is a contested fact (Resp. Recon. Br. 14-17), that contest is not

material to the due process inquiry. “Due process does not require perfect or

actual notice.” Yukos Cap. S.A.R.L., 963 F. Supp. 2d at 297; see also Mullane,

339 U.S. at 314-15. Respondent has also not shown that he was prejudiced.

While a lack of actual notice could explain his failure to nominate an arbitrator

of his choosing within the timeframe provided by CIETAC rules, Respondent

was afforded the opportunity to challenge the adequacy of service and the

composition of the arbitral panel multiple times in the underlying arbitration.

(See, e.g., Qin Decl., Ex. 8 (filing raising service objections to CIETAC)). That

the arbitral panel ultimately disagreed with Respondent’s positions is of no

moment. Due process is concerned only with whether there was notice

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reasonably calculated to permit Respondent to present his objections, not

whether those objections ultimately persuaded the arbitral panel.

      Because Respondent has still not carried the very heavy burden of proof

required to avoid confirmation of a foreign arbitral award, see D.H. Blair & Co.,

Inc. v. Gottdiener, 462 F.3d 95, 110 (2d Cir. 2006), the Court will not vacate its

original judgment.

                                  CONCLUSION

      For the foregoing reasons, Respondent’s motion for relief from the

judgment is DENIED. The Clerk of Court is directed to terminate the motion at

docket entry 66.

      SO ORDERED.

Dated:      March 31, 2023
            New York, New York               __________________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge




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